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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                              Case No. ________
 WISCONSIN VOTERS ALLIANCE
 E3530 Townline Road
 Kewaunee, Wisconsin 54216;

 PENNSYLVANIA VOTERS ALLIANCE
 1621 Huddel Avenue Lower
 Chichester, Pennsylvania, 19061;

 GEORGIA VOTERS ALLIANCE
 151 Main Street
 Senior, Georgia 30276;

 ELECTION INTEGRITY FUND
 1715 Northumberland Drive
 Rochester Hills, Michigan 48309;

 ARIZONA VOTER INTEGRITY ALLIANCE
 8019 East Tuckey Lane
 Scottsdale, Arizona 85250;

 LYNIE STONE
 10410 East Prince Road
 Tucson, Arizona 85749;

 BARON BENHAM
 8019 East Tuckey Lane
 Scottsdale, Arizona 85250;

 DEBI HAAS
 5530 Rivers Edge Drive
 Commerce, Michigan 48382;
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BRENDA SAVAGE
1715 Northumberland Drive
Rochester Hills, Michigan 48309;

MATTHEW DADICH
1621 Huddel Avenue
Lower Chichester, Pennsylvania 19061;

LEAH HOOPES
241 Sulky Way
Chadds Ford, Pennsylvania 19317;

RON HEUER
E3530 Townline Road
Kewaunee, Wisconsin 54216;

RICHARD W. KUCKSDORF
W2289 Church Drive
Bonduel, Wisconsin 54107;

DEBBIE JACQUES
1839 South Oneida Street
Green Bay, Wisconsin 54304;

JOHN WOOD
151 Main Street
Senior, Georgia 30276;

SENATOR SONNY BORRELLI
2650 Diablo Dr
Lake Havasu City AZ 86406

REPRESENTATIVE WARREN PETERSON
2085 E Avenida del Valle Ct
Gilbert AZ 85298

REPRESENTATIVE MATTHEW MADDOCK
1150 South Milford Road
Milford, Michigan 48381;

REPRESENTATIVE DAIRE RENDON,
4833 River Wood Road
Lake City, Michigan 49651;

REPRESENTATIVE DAVID STEFFEN
715 Olive Tree Court
Green Bay, Wisconsin 54313;



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REPRESENTATIVE JEFF L. MURSAU
4 Oak Street
Crivitz, Wisconsin 54114;

SENATOR WILLIAM T. LIGON
90 Bluff Road South
White Oak, Georgia 31568; and

SENATOR BRANDON BEACH
3100 Brierfield Road
Alpharetta, GA 30004

                              Plaintiffs,
v.


VICE PRESIDENT MICHAEL RICHARD PENCE,
in his official capacity as President of the United States Senate,
Office of the Vice President
1600 Pennsylvania Avenue, N.W.
Washington, DC 20500;

U.S HOUSE OF REPRESENTATIVES,
U.S. Capitol
First St SE
Washington, DC 20004;

U.S. SENATE,
U.S. Capitol
First St SE
Washington, DC 20004;

ELECTORAL COLLEGE,
U.S. Capitol
First St SE
Washington, DC 20004;

GOVERNOR TOM WOLF OF PENNSYLVANIA,
in his official capacity,
508 Main Capitol Building
Harrisburg, PA 17120;

SPEAKER BRYAN CARTER OF THE PENNSYLVANIA
HOUSE OF REPRESENTATIVES, in his official capacity,
139 Main Capitol Building
PO Box 202100
Harrisburg, PA 17120-2100;



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SENATE MAJORITY LEADER JAKE CORMAN
OF THE PENNSYLVANIA SENATE,
in his official capacity,
Senate Box 203034
Harrisburg, PA 17120-3034;

GOVERNOR GRETCHEN WHITMER OF MICHIGAN,
in her official capacity,
111 S Capitol Avenue
Lansing, Michigan 48933;

SPEAKER LEE CHATFIELD OF THE MICHIGAN
HOUSE OF REPRESENTATIVES,
in his official capacity,
124 N Capitol Avenue
Lansing, Michigan 48933;

SENATE MAJORITY LEADER MIKE SHIRKEY
OF THE MICHIGAN SENATE,
in his official capacity,
S-102 Capitol Building
Lansing, Michigan 48933;

GOVERNOR TONY EVERS OF WISCONSIN,
in his official capacity,
P.O. Box 7863
Madison, Wisconsin 53707;

SPEAKER ROBIN VOS OF THE WISCONSIN
STATE ASSEMBLY,
in his official capacity,
960 Rock Ridge Road
Burlington, Wisconsin 53105;

SENATE MAJORITY LEADER HOWARD MARKLEIN
OF THE WISCONSIN SENATE,
in his official capacity,
PO Box 7882
Madison, Wisconsin 53707;

GOVERNOR BRIAN KEMP OF GEORGIA,
in his original capacity,
111 State Capitol
Atlanta, Georgia 30334;




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 SPEAKER DAVID RALSTON OF THE GEORGIA HOUSE
 OF REPRESENTATIVES,
 in his official capacity,
 332 State Capitol
 Atlanta, Georgia 30334;

 PRESIDENT PRO TEMPORE BUTCH MILLER OF THE
 GEORGIA SENATE,
 in his official capacity,
 321 State Capitol
 Atlanta, Georgia 30334;

 GOVERNOR DOUG DUCEY OF ARIZONA,
 in his official capacity,
 1700 W. Washington Street
 Phoenix, Arizona 85007;

 SPEAKER RUSSELL BOWERS OF THE
 ARIZONA HOUSE OF REPRESENTATIVES,
 in his official capacity,
 1700 West Washington
 Room 223
 Phoenix, Arizona 85007; and

 SENATE MAJORITY LEADER RICK GRAY
 OF THE ARIZONA SENATE,
 in his official capacity,
 1700 West Washington
 Room 301
 Phoenix, Arizona 85007,

                           Defendants.


                                          COMPLAINT


       The above-named Plaintiffs Wisconsin Voters Alliance, Pennsylvania Voters Alliance,

Georgia Voters Alliance, Election Integrity Fund, Arizona Election Integrity Alliance, Lynie Stone,

Baron Benham, Debi Haas, Brenda Savage, Matthew Dadich, Leah Hoopes, Ron Heuer, Richard W.

Kucksdorf, Debbie Jacques, John Wood, Sonny Borrelli, Warren Peterson, Matthew Maddock,




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Daire Rendon, David Steffen, Jeff L. Mursau, William T. Ligon and Brandon Beach, for their

complaint allege as follows:

                                                 INTRODUCTION

A.        State Legislatures are Prohibited from Fulfilling Their Constitutional Responsibility.

          This lawsuit seeks protection of voters’ rights in Presidential elections. Voters in Presidential

elections have a constitutional right to have their respective state legislatures meet after the election

and certify their votes and, based on the votes, certify the Presidential electors whose votes are

counted in Congress to elect the President and Vice President.

          In drafting Article II, the Framers of the Constitution reasoned state legislatures should

select Presidential electors so as “to afford as little opportunity as possible to tumult and disorder”

and to place “every practicable obstacle [to] cabal, intrigue, and corruption,” including “foreign

powers” that might try to insinuate themselves into our elections.1

          Article II limited Congress’s role in selecting the President and provided no constitutional

role for Governors. Yet, at present state legislatures are unable to meet. This inability to meet has

existed from election day and continues through various congressionally set deadlines for the

appointment of presidential electors and the counting of presidential elector votes. The states

legislatures of Pennsylvania, Michigan, Wisconsin, Georgia and Arizona (“Defendant States”) are

unable to review the manner in which the election was conducted, are prevented from exercising

their investigative powers and are unable to vote, debate or as a body speak to the conduct of the

election. In sum, State legislatures are impotent to respond to what happened in the November 3,

2020 election.




1
    Hamilton, Alexander. Federalist No. 68, at 410-11 (C. Rossiter, ed. 1961).


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          This impotency is caused by the ministerial functions of Congress and the Vice President

regarding the counting of the Presidential Elector’s votes and also by state law prohibiting the

legislative body from meeting without a supermajority or governor or leadership agreement during a

time they can respond to what happened in the election. Accordingly, even if the state legislatures

were aware of clear fraud by the executive branch – the state legislatures could not meet unless a

supermajority, or a governor, or legislative leadership agreed they should meet.

          This wholesale delegation of legislative authority operates contrary to the Constitution by

inviting “cabal, intrigue and corruption” rather than operating to prevent the same. State legislative

bodies have been relegated to observing the ministerial functions of a small group of executive

officials who have refused various requests by legislators to be called into special session.

Consequently, the legislative bodies as a whole of Defendant States have not engaged in any open

discussion, review, investigation, or debate regarding the 2020 general election.

B.        A Cabal of Public-Private Partnerships Directed the Manner of the Election Contrary
          to State Law Creating Disorder the State Legislatures were Unable to Address.

          The management of elections is a core government function of Congress and state

legislatures whose responsibilities are constitutionally defined.2 “Safeguarding the integrity of the

electoral process is a fundamental task of the Constitution, and [the courts] must be keenly sensitive

to signs that its validity may be impaired.”3

          This is especially so when state legislatures have abrogated their responsibilities through the

improper delegation of their authority and when a cabal of state and local executives have partnered

with private interests to undermine state statutes and plans designed to protect the integrity of the

election.




2
    U.S. Const. Art. II, Section 1, Cl. 1; U.S. Const. Art. 4, Section 1, Cl. 1.
3
    Johnson v. FCC, 829 F.2d 157, 163 (D.C. Cir. 1987).


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        “Confidence in the integrity of our electoral processes is essential to the functioning of our

participatory democracy”4 and due to the wholesale delegation of legislative responsibility only

judicial action restoring legislative authority can check unlawful conduct by the involved state

executives.

C.      Unprecedented Private Monies Purchased Local Election Offices and Dictated
        Election Management Encouraging the Evasion of State Laws and Government
        Partisan Involvement.

        On March 27, 2020 President Trump signed into law the Coronavirus Aid, Relief, and

Economic Security Act (CARES) which provided $400 million to states to manage the 2020

elections during the pandemic.5 This funding joined previous monies provided by the Help America

Vote Act (HAVA) to afford states sufficient federal funding to assist in managing the election.

        The CARES Act funding, however, was exceeded by one individual who passed $400 million

to local and state executives through a private charity that dictated how the recipient local

government officials would manage the election.6

        These dictates included the unprecedented use of drop boxes, mobile ballot retrieval, the

location and number of polling places or satellite locations, and the consolidation of urban counting

centers. Election judges, inspectors and poll workers were paid by these private funds and the

tabulating machines purchased with private monies.7

     The private funds flowed through the Center for Tech and Civic Life (CTCL) and were targeted

to facilitate voter turnout of certain demographics in geographic areas dominated by one political




4
  Purcell v. Gonzalez, 549 U.S. 1, 4 (2006).
5
  Coronavirus Aid, Relief & Econ. Security Act, Pub. L. 116-136, §15003, 134 Stat. 281, 531.
6
  Mark Zuckerberg donated $400M to help local election offices during pandemic, INDEPENDENT, Nov. 11,
2020. https://www.independent.co.uk/news/world/americas/mark-zuckerberg-donation-election-
facebook-covid-b1721007.html.
7
  Id.


                                                   8
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party.8 CTCL recruited specific cities to apply for the grants and provided grants to select cities to

assist those cities in their grant applications.9

        The funding to local election officials in Democratic strongholds was provided

simultaneously with executive decisions to close in-person voting locations in areas not receiving

CTCL grants. The CTCL funding and local executive official acceptance created a two-tier election

system in which geographic areas benefitting one political party were flush with cash used to

increase voter opportunities and turnout, including one city’s no-bid purchase of a $250,000

Winnebago for local voter turnout efforts. The geographic areas dominated by the other party,

however, experienced greater difficulty voting due to COVID emergency orders.10

        For example, CTCL provided funds to 100% of the Pennsylvania counties carried by Hillary

Clinton in 2016, including over $10 million to Philadelphia County.11 The charity required the

heavily Democratic county to establish 800 “satellite” voting locations and implement the drop box

collection of ballots. In neighboring Democratic Delaware County, Pennsylvania one drop box was

available for every 4,000 voters and one drop box was placed for every four-square-miles.

        On the other hand, President Trump carried 59 of 67 Pennsylvania counties in 2016. CTCL

contributed to 22% of those counties providing much smaller grants. There was one drop box for

every 72,000 voters and every 1,159 square-miles in those counties.




8
   See, e.g., (city of Philadelphia grant communications), Unconstitutional? Wisconsin city election officials
sought private money to register voters, https://justthenews.com/politics-policy/elections/documents-
show-wi-municipal-authorities-sought-use-grant-money-voter; City of Green Bay – Center for Tech
and Civic Life grant agreement (July 24, 2020).
9
   See Approval by Center for Tech and Civic Life of grant request for City of Racine, App. 247-48;
see also Petition for Permanent Injunction and Declaratory Judgment on behalf of the State of
Louisiana, App. 1504-1536.
10
   See Grant Spending Approval by City of Racine for Purchase of Winnebago, App. 1492; see also
Carlson Report, App. 31-38.
11
   See Approval by Center for Tech and Civic Life of grant request for City of Philadelphia, App.
1493-1503.


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        CTCL funding produced similar results in the other Defendant States. Moreover, the use of

drop boxes materially breached the chain of custody of ballots. For example, ballot transfer forms in

Cobb County, Georgia show 78% of the 89,000 absentee ballots were not transported as Georgia

election rules require.12 Additionally, the use of drop boxes and changes in the signature comparison

requirements for absentee ballots were approved by the Georgia Secretary of State without

legislative approval.13

        The presence of CTCL funds in other states facilitated conduct contrary to state law as well.

In Wisconsin, at CTCL’s request, five cities used CTCL seed monies to draft the “Wisconsin Safe

Voting Plan 2020,” so named despite the failure of the city leaders to include any other Wisconsin

election officials. The plan, and communications relating to the plan, provided for extensive voter

turnout efforts, considered state voter identification laws an obstacle and required the use of drop

boxes, curbside voting and salaries for additional staffing.”14

     CTCL funding was used to “dramatically expand voter and community education and outreach,

particularly to historically disenfranchised residents.”15




12
   Ballot Transfer Forms Show 78 Percent of 89,000 Absentee Ballots from Drop Boxes in Cobb County, Georgia
Were Not Transported to the Registrar ‘Immediately’ As the Election Code Requires – The Georgia Star News,
https://georgiastarnews.com/2020/12/11/ballot-transfer-forms-show-78-percent-of-89000-absentee-ballots-from-
drop-boxes-in-cobb-county-were-not-transported-to-registrar-immediately-as-election-code-rule-requires/.
13
   Georgia Secretary of State and State Election Board Changed Absentee Ballot Signature Verification and Added
Drop Boxes Without State Legislature’s Approval,” https://georgiastarnews.com/2020/12/16/georgia-secretary-
of-state-and-state-election-board-changed-absentee-ballot-signature-verification-and-added-drop-boxes-without-state-
legislatures-approval/.
14
   Wisconsin Safe Voting Plan 2020, at 4 (submitted to the Center for Tech and Civic Life by the cities
of Green Bay, Kenosha, Madison, Milwaukee and Racine)(June 15, 2020). The report states
“[v]oting absentee by mail has been complicated by a fairly recent imposition of state law requiring
voters to provide an image of their valid photo ID prior to first requesting an absentee ballot.” Id., at
6. The CTCL funding provided “voter navigators” and professional” witnesses to increase turnout
and $2.5 million to “overcome these particular barriers.” Id. at 8-11. The cities received over $2
million for additional staffing, including pay for poll workers, election “chief inspectors.” Id., at 11-
12 and 18-19. An additional $216,500 was provided for drop boxes. Id., at 10-11.
15
   Id., at 13.


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         CTCL funding enabled urban areas in defendant states to consolidate counting facilities.

This consolidation precipitated the exclusion of Republican officials from the ability to view the

management, handling and counting of absentee and mail-in ballots.

         Election transparency is a prophylactic to fraud. Each defendant state has laws requiring

members of both major political parties be present in the location of the receipt, management and

counting of ballots. Such common-sense policy is necessary due to the significant afforded election

officials.

         Local election officials determine the ballots to be received, the ballots eligible to be counted

and supervise the count of the ballots. Legislatures have wisely determined the best way to bring

accountability to such decisions is to require the participation, or at least the observation, of both

political parties.

         Yet, these laws were not followed. In Wayne County, Michigan, CTCL paid poll workers

boarded up the windows to the counting facility to prevent observation.16 Inside Detroit’s TCF

Center, election inspectors were receiving, counting and “curing” absentee ballots. The “curing”

process involves discerning the voting intent of an absent voter and reflecting that intent on a newly

ballot which is then cast and counted.

         Michigan law requires representatives of both major political parties to view the process and

then sign a form stating the “curing” was completed consistent with voter intent.17 Yet, Republican

inspectors were not appointed in Wayne County. Moreover, Republican poll watchers were kept at

such a distance in the cavernous TCF Center they were unable to view the conduct of the inspectors




16
   There’s a Simple Reason Workers Covered Windows at a Detroit Vote-Counting Site, THE NEW YORK
TIMES (Nov. 5, 2020)( https://www.nytimes.com/2020/11/05/technology/michigan-election-
ballot-counting.html, retrieved Dec. 20,2020)(windows covered to prevent “photographs”).
17
   See Mich. Comp. Laws §168.674(2)(Thomson/West 2006).


                                                    11
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at the 134 counting tables operating in the center.18 City election officials later argued that allowing

republicans in the “place” of the counting satisfied state law despite the “place” these poll watchers

were required to stand was so remote they could not observe the activity of the democrat party

officials.

           Urban election officials in other Defendant States which received CTCL funding also

restricted or prohibited Republican poll watchers from viewing the receipt, management, curing and

counting of ballots.19 Local election officials in each state represented here received significant funds

from CTCL and each also engaged in election improprieties with local officials acting contrary to

state law.

           State hostility to Republican participation in reviewing the management of the 2020 general

election manifested in threats to Republican officeholders and their counsel in Michigan. On

December 14, 2020 Governor Gretchen Whitmer mobilized the state police to secure the state

capitol to prevent Republican legislators entry to the building while allowing Democrat legislators to

enter.20



18
   See, e.g., Watch, Detroit Absentee Ballot Counting Chaos As Workers Block Windows, Bar Observers,
BREITBART (Nov. 4, 2020)( https://www.breitbart.com/politics/2020/11/04/watch-detroit-
absentee-ballot-counting-chaos-as-workers-block-windows-bar-observers/, retrieved Dec. 12, 2020);
Chaos erupts at TCF Center as Republican vote challengers cry foul in Detroit, DETROIT FREE PRESS (Nov. 4,
2020)( https://www.freep.com/story/news/politics/elections/2020/11/04/tcf-center-challengers-
detroit-michigan/6164715002/, retrieved Dec. 20, 2020).
19
   See, e.g., Affidavit of Gregory Stenstrom (date); ‘The Steal is On’ in Pennsylvania: Poll Watchers
Denied Access, Illegal Campaigning at Polling Locations, Breitbart (Nov. 3, 2020)(
https://www.breitbart.com/politics/2020/11/03/the-steal-is-on-in-pennsylvania-poll-watchers-
denied-access-illegal-campaigning-at-polling-locations/, retrieved Dec. 20, 2020);
20
   Michigan governor Gretchen Whitmer and legislative leadership initially claimed COVID-19
necessitated the closing of the Michigan capitol building on December 14, 2020, the congressional
deadline for the certification of the presidential electors. Shirkey: ‘Bad Judgment’ to keep Michigan Capitol
closed during electors meeting, https://www.detroitnews.com/story/news/politics/2020/12/14/shirkey-bad-
judgment-capitol-closed-during-elector-meeting/6536863002/. Later, Governor Whitmer claimed the closing
occurred due to a security threat. Michigan State House, Senate close over ‘threats of violence’ during Electoral
College Meeting, December 14, 2020,
https://www.usatoday.com/story/news/politics/2020/12/14/michigan-legislative-buildings-


                                                       12
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        Moreover, Democrat Michigan Attorney General Dana Nessel announced she was criminally

investigating Republican legislators who voiced concerns regarding the election outcome and

threatened those officials with criminal prosecution for “bribery, perjury, and conspiracy.”21

        General Nessel also tweeted a claim “GOP efforts to overturn President Trump’s electoral

defeat…and [t]hreats against election officials are domestic terrorism. My message to them is ‘We

are looking for you. We will find you. You will be held accountable.”22 The Michigan State Police

whom the Governor ordered to bar Republicans from entering the capitol on the fourteenth23,

however, announced they “did not recommend the closure of legislative offices ahead of the

Electoral College meeting and they were not aware of ‘any credible threats of violence related to

Michigan….”24

        General Nessel continued her threats with calls for ethics investigations of Republican

attorneys. She also chilled free speech during the election by issuing “cease-and-desist letters” to

political organizations engaged in political speech.25



closed-security-concerns-covid-19/6536919002/, see also https://www.npr.org/sections/biden-
transition-updates/2020/12/14/946243439/michigan-gov-whitmer-addresses-security-threat-to-
electoral-college-vote. Despite both claims, Democrats were allowed in the state capitol on
December 14, 2020 while republican legislators were prohibited from entering.
https://www.prnewswire.com/news-releases/got-freedom-video-shows-police-preventing-gop-
electors-in-michigan-from-performing-lawful-duties-301192474.html. The Michigan State Police,
however, revealed that they acted on the Governor’s orders and that the state police were not aware
of any credible threat to the capitol or its occupants. https://nbc25news.com/news/local/michigan-
house-and-senate-offices-closed-tomorrow-because-of-safety-concerns.
21
   Michigan attorney general ponders criminal probes of state and local officials who bend to Trump’s will on
overturning election results, https://www.washingtonpost.com/politics/michigan-attorney-general-canvassing-board-
lawmakers/2020/11/20/87d19ce6-2b65-11eb-8fa2-06e7cbb145c0_story.html.
22
   https://twitter.com/dananessel/status/1338494176883847170.
23
   Live Update: Denied to Perform Constitutional Duty in Michigan, GOT FREEDOM? (December 14,
2020)(https://www.youtube.com/watch?v=6nH6ZvfAD2w, (video of entry denial)).
24
   State Police say there were not aware of any credible threats to the capitol on Monday,
https://nbc25news.com/news/local/michigan-house-and-senate-offices-closed-tomorrow-because-of-safety-concerns.
25
   Nessel issues cease-desist letters to those spreading misinformation during election,
https://www.wxyz.com/news/election-2020/nessel-issues-cease-and-desist-letters-to-those-spreading-misinformation-
during-election.


                                                       13
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          Accordingly, the Plaintiffs who are voter groups, voters and state legislators in Pennsylvania,

Michigan, Wisconsin, Georgia and Arizona file this complaint seeking to restore the constitutional

authority and duty of the legislative bodies of their respective states in the selection of presidential

electors to correct “the tumult and disorder”26 and lawlessness

          The federal laws regarding the Presidential electors, codified at 3 U.S.C. §§ 5, 6 and 15 are

constitutionally unauthorized and violate Presidential voters’ rights to state legislative post-election

certification. Article II of the Constitution establishes a non-delegable process where at least state

legislative post-election certification of the state’s Presidential electors is constitutionally required for

Presidential elector votes to be counted in the election of the President and Vice President. In

contradiction, the federal laws, particularly 3 U.S.C. §§ 5 and 6, establish a different process where

Presidential electors are designated by the Governor of each Defendant State without state

legislative post-election certification. Then, 3 U.S.C. § 15 authorizes the Vice President and Congress

to count those votes in contradiction of the constitutional obligation to only count votes of

Presidential electors who have state legislative post-election certification.

          Further, the Defendant States have legally acquiesced to the federal laws by enacting statutes

transferring post-election certification from the state legislatures to state executive branch officials:

Ariz. Rev. Stat. § 16-212 (B) (Arizona Secretary of State), Ga. Code Ann. § 21-2-499 (B) (Georgia

Secretary of State and Governor), Mich. Comp. Laws Ann. § 168.46 (Michigan State Board of

Canvassers and Governor), Wis. Stat. § 7.70 (5) (b) (Wisconsin Elections Commission); and 25 Pa.

Cons. Stat. § 3166 (Secretary of Commonwealth and Governor). These state laws also violate Article

II which establishes the state legislative prerogative to post-election certification of Presidential

votes and of Presidential electors.




26
     Federalist No. 68, at 410-11.


                                                     14
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         Plaintiffs hope a constitutional crisis can be avoided. There is time before the January 20,

2021 inaugural of the President and Vice President for the Court to require the state legislatures to

meet and consider post-election certification of the Presidential electors. The people’s

representatives comprising the state legislatures of the respective states must be afforded the

opportunity to act as a whole to fulfill their constitutional responsibilities and to restore faith in the

election process.

         Moreover, this Court has continuing jurisdiction, after this Presidential election, because the

federal laws and state laws violating Article II have continuing force applied to future Presidential

elections.

                                           JURISDICTION

         1.      The Court has jurisdiction under 28 U.S.C § 1331 (federal question), 28 U.S.C. §

1343 (civil rights and elective franchise), 28 U.S.C. § 2201 (declaratory judgment), 28 U.S.C. § 1651

(“All Writs Act”), 42 U.S.C. § 1983 (civil rights) and D.C. Code § 16-3501, et seq (ouster of national

officials).

         2.      The Court has venue under 28 U.S.C. § 1391 because many of the Defendants reside

or are located in the District of Columbia and a substantial part of the events or omissions giving

rise to the claim occurred or will occur there.



                                                PARTIES

A.       Plaintiffs

         3.      Plaintiffs Wisconsin Voters Alliance, Pennsylvania Voters Alliance, Georgia Voters

Alliance, Election Integrity Forum and Arizona Election Integrity Alliance are election integrity

entities and associations which have a purpose of promoting election integrity in Pennsylvania,




                                                    15
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Wisconsin, Georgia, Michigan and Arizona, respectively. They do not support any particular

candidate for any public office.

        4.      Plaintiffs Lynie Stone and Baron Benham are residents, voters and taxpayers of

Arizona. They are members of the Arizona Election Integrity Alliance.

        5.      Plaintiffs Debi Haas and Brenda Savage are residents, voters and taxpayers of

Michigan. They are members of the Election Integrity Forum.

        6.      Plaintiffs Matthew Dadich and Leah Hoopes are residents, voters and taxpayers of

Pennsylvania. They are members of the Pennsylvania Voters Alliance.

        7.      Plaintiffs Ron Hueur, Richard W. Kucksdorf and Debbie Jacques are residents,

voters and taxpayers of Wisconsin. They are members of the Wisconsin Voters Alliance.

        8.      Plaintiff John Wood is a resident, voter and taxpayer of Georgia. He is a member of

the Georgia Voters Alliance.

        9.      Plaintiff Senator Sonny Borrelli member of the Arizona Senate.

        10.     Plaintiff Representative Warren Peterson is a member of the Arizona House of

Representatives.

        11.     Plaintiff Representative Matthew Maddock is a member of the Michigan House of

Representatives.

        12.     Plaintiff Representative Daire Rendon is a member of the Michigan House of

Representatives.

        13.     Plaintiff Representative David Steffen is a member of the Wisconsin State Assembly.

        14.     Plaintiff Representative Jeff L. Mursau is a member of the Wisconsin State

Assembly.

        15.     Plaintiff Senator William T. Ligon is a member of the Georgia Senate.

        16.     Plaintiff Senator Brandon Beach is a member of the Georgia Senate.



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          17.    All of the individual Plaintiffs are residents, voters and taxpayers of their respective

states.

          18.    All of the individual Plaintiffs voted in the November 3, 2020 election for President

and Vice President and plan to vote in future Presidential elections.

B.        Defendants

          19.    Vice President Michael Richard Pence is a Defendant sued in his official capacity as

President of the United States Senate. As such, Pence is identified as having legal obligations under

the Constitution and federal law regarding opening and counting the ballots of Presidential electors

for President and Vice President.

          20.    The U.S House of Representatives, U.S. Senate, and Electoral College are

Defendants. They are constituted under the Constitution and federal law.

          21.    Governor Tom Wolf of Pennsylvania is a Defendant sued in his official capacity. He

has legal responsibilities under federal and state law in post-election certification of Presidential

electors.

          22.    Speaker Bryan Carter of the Pennsylvania House of Representatives and Senate

Majority Leader Jake Corman of the Pennsylvania Senate, are sued in their official capacities. They

and their respective houses of their state legislature have legal responsibilities under federal and state

law in post-election certification of Presidential electors.

          23.    Governor Gretchen Whitmer of Michigan is a Defendant sued in her official

capacity. She has legal responsibilities under federal and state law in post-election certification of

Presidential electors.

          24.    Speaker Lee Chatfield of the Michigan House of Representatives and Senate Majority

Leader Mike Shirkey of the Michigan Senate are sued in their official capacities. They and their




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respective houses of their state legislature have legal responsibilities under federal and state law in

post-election certification of Presidential electors.

        25.      Governor Tony Evers of Wisconsin is a Defendant sued in his official capacity. He

has legal responsibilities under federal and state law in post-election certification of Presidential

electors.

        26.      Speaker Robin Vos of the Wisconsin State Assembly and Senate Majority Leader

Howard Marklein of the Wisconsin Senate are sued in their official capacities. They and their

respective houses of their state legislature have legal responsibilities under federal and state law in

post-election certification of Presidential electors.

        27.      Governor Brian Kemp of Georgia is a Defendant sued in his official capacity. He

has legal responsibilities under federal and state law in post-election certification of Presidential

electors.

        28.      Speaker David Ralston of the Georgia House of Representatives and President Pro

Tempore Butch Miller of the Georgia Senate are sued in their official capacities. They and their

respective houses of their state legislature have legal responsibilities under federal and state law in

post-election certification of Presidential electors.

        29.      Governor Doug Ducey of Arizona is a Defendant sued in his official capacity. He

has legal responsibilities under federal and state law in post-election certification of Presidential

electors.

        30.      Speaker Russell Bowers of the Arizona House of Representative and Senate Majority

Leader Rick Gray of the Arizona Senate are sued in their official capacities. They and their

respective houses of their state legislature have legal responsibilities under federal and state law in

post-election certification of Presidential electors.




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                                                 STANDING

           31.      As voters, the Plaintiffs have legal standing to bring these constitutional claims to

ensure that Presidential elections are constitutionally conducted by Defendants.27

           32.     The Plaintiffs claim that Article II of the U.S. Constitution provides a voter a

constitutional right to the voter’s Presidential vote being certified as part of the state legislature’s

post-election certification of Presidential electors. Absence such certification, the Presidential

electors’ votes from that state cannot be counted by the federal Defendants toward the election of

President and Vice President. Because the Plaintiffs’ votes are not counted as part of the

constitutionally-required state legislative post-election certification of Presidential electors, the

Defendants are causing the Plaintiffs to be disenfranchised. See Baten v. McMaster, 967 F.3d 345, 352–

53 (4th Cir. 2020) (voters who vote in Presidential elections have standing on claims of government

causing disenfranchisement).

           33.     When Defendants violate the Constitution as it relates to Presidential elections in the

Defendant, all voters in Presidential elections suffer an injury-in-fact caused by the Defendants.

Voters in a Presidential election, in this instance, have an injury-in-fact different than the public

because when they voted and they had an interest that the election in which they voted is

constitutionally-conducted. The same is true of future elections. Finally, the Court can redress the

Plaintiffs’ injuries by issuing a declaratory judgment and accompanying injunction to enjoin the

Defendants’ unconstitutional conduct.

           34.     As voters, each Plaintiff has a fundamental right to vote.28 Thus, each Plaintiff has a

recognized protectable interest. As the U.S. Supreme Court has long recognized, a person's right to




27
     See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (U.S. 1992).
28
     Reynolds v. Sims, 377 U.S. 533, 554–55, 562 (1964).


                                                       19
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vote is “individual and personal in nature.”29 Thus, “voters who allege facts showing disadvantage to

themselves as individuals have standing to sue” to remedy that disadvantage.30 “Safeguarding the

integrity of the electoral process is a fundamental task of the Constitution, and [the courts] must be

keenly sensitive to signs that its validity may be impaired.”31 “Confidence in the integrity of our

electoral processes is essential to the functioning of our participatory democracy.”32

        35.     By federal and state election laws, the federal and state governments have agreed to

protect the fundamental right to vote by maintaining the integrity of an election contest as fair,

honest, and unbiased to maintain the structure of the democratic process.33 The voters, in turn, agree

to accept the government’s announcement of the winner of an election contest, including federal

elections, to maintain the integrity of the democratic system of the United States. “‘No right is more

precious in a free country than that of having a voice in the election of those who make the laws

under which, as good citizens, we must live.’34 But the right to vote is the right to participate in an

electoral process that is necessarily structured to maintain the integrity of the democratic system.”35

        36.     This arrangement constitutes a “social contract” between the voter and the

government as an agreement among the people of a state about the rules that will define their

government.36 Social contract theory provided the background against which the Constitution was

adopted. “Because of this social contract theory, the Framers and the public at the time of the



29
   Id. 377 U.S. at 561.
30
   Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018).
31
   Johnson v. FCC, 829 F.2d 157, 163 (D.C. Cir. 1987).
32
   Purcell v. Gonzalez, 549 U.S. 1, 4 (2006).
33
   Timmons v. Twin Cities Area New Party, 520 U.S. 351, 364 (1997) (“States certainly have an interest in
protecting the integrity, fairness, and efficiency of their ballots and election processes as means for
electing public officials.”).
34
   Burdick v. Takushi, 504 U.S. 428, 441 (1992) quoting Wesberry v. Sanders, 376 U.S. 1, 17 (1964).
35
   Id. (citations omitted).
36
  Dumonde v. U.S., 87 Fed. Cl. 651, 653 (Fed. Cl. 2009) (“Historically, the Constitution has been
interpreted as a social contract between the Government and people of the United States,” citing
Marbury v. Madison, 1 Cranch 137, 5 U.S. 137, 176 (1803).


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revolution and framing conceived governments as resulting from an agreement among people to

provide a means for enforcing existing rights.”37 “The aim of a social contract theory is to show that

members of some society have reason to endorse and comply with the fundamental social rules,

laws, institutions, and/or principles of that society. Put simply, it is concerned with public

justification, i.e., ‘of determining whether or not a given regime is legitimate and therefore worthy of

loyalty.’”38

         37.    The uniformity of election laws is part of that contract to protect the right to vote.

Hence, the right to vote is intertwined with the integrity of an election process. The loss of the

integrity of the election process renders the right to vote meaningless.39 Here, the Defendant States’

election irregularities and improprieties so exceed the razor-thin margins to cast doubt on the razor-

thin margins of victory and, thus, threaten the social contract itself.

         38.    The same will happen in future elections too if it is not stopped.

         39.    The Article II social contract with the voters is, in part, the assurance of their state

legislature voting for post-election certification of Presidential electors. Arising from the social

contract is the integrity of the election process to protect the voter’s right to vote. In the state

legislatures perpetually delegating post-election certification of Presidential electors to election

officials—as a core government function—the state legislatures, required by federal law, delegated




37
   Greg Serienko, Social Contract Neutrality and the Religion Clauses of the Federal Constitution, 57 Ohio St.
L. J. 1263, 1269.
38
   Contemporary Approaches to the Social Contract, https://plto.stanford.edu/entries/contractarianism-
contemporary/ (last visited Dec. 21, 2020).
39
   “Legitimacy is the crucial currency of government in our democratic age. Only elections that are
transparent and fair will be regarded as legitimate…But elections without integrity cannot provide the
winners with legitimacy, the losers with security and the public with confidence in their leaders and
institutions.”https://www.kofiannanfoundation.org/supporting-democracy-and-elections-with-
integrity/uganda-victory-without-legitimacy-is-no-victory-at-all/ (Last visited Dec. 8, 2020).


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post-election certification to state executive branch officials when Article II requires the state

legislatures to conduct post-election certification of every voter’s vote.

           40.     This social contract is what is personally at risk for the Plaintiffs in the outcome of

the controversy. 40 As much as the government has a compelling interest in fair and honest elections

with accompanying laws and regulations to ensure that objective to preserve the democratic system

of government, so too the voter has an interest in state and local election officials violating the

election laws in favor of a pre-determined result.

           41.     Furthermore, the voter has a compelling interest in the maintenance of a democratic

system of government under the Ninth Amendment through the election process, beyond

controversies regarding governmental attempts to interfere with the right to vote. Here, the voter

did not enter into a contract with the state election official to give them discretion for state election

irregularities and improprieties—of any kind—regardless of how benign they might be. The voter’s

social contract is with the state legislature—who under Article II must conduct post-election

certification of the Presidential electors. The Article II requirement of the state legislature casting a

post-election certification vote for Presidential electors is the voters’ constitutional “insurance

policy” against the risk of state and local election officials engaging in election irregularities and

improprieties in favor of a pre-determined outcome.

           42.     The voters have been willing to accept laws and regulations imposed upon an

election process to serve the government’s compelling interest in the integrity of that process. So,

while it is fair to create public governmental regulatory schemes to promote the compelling interests

to protect the right to vote, and therefore, a voter’s right of associational choices under the First




40
     Gill, 138 S.Ct. at 1923.


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Amendment,41 those rights are infringed when the state legislatures abdicate the constitutionally-

required role of post-election certification of Presidential electors.42

        43.     For federal elections, state legislatures under Article II have no authority to delegate

post-election certification of Presidential electors to state executive branch officials. Yet, they did.

That is the harm for the voters. It is the Electors Clause that gives state legislatures the exclusive

right to post-election certification of Presidential electors—not state executive branch officials.

        44.     This lawsuit is not about voter fraud. The harm here is the loss of a voter remedy

under Article II conducted as a core governmental function under federal and state election laws to

ensure the integrity of the election. In turn, the acceptance of the outcome without state legislative

post-election certification of Presidential electors interferes with the social contract between the

voter and the government—causing injury to the voter.

                                           BACKGROUND

A.      Legal background

        45.     Under the Supremacy Clause, the “Constitution, and the laws of the United States

which shall be made in pursuance thereof … shall be the supreme law of the land.”43

        46.     “The individual citizen has no federal constitutional right to vote for electors for the

President of the United States unless and until the state legislature chooses a statewide election as

the means to implement its power to appoint members of the electoral college.”44




41
   Anderson v. Celebrezze, 460 U.S. 780, 788–89 (1983).
42
   Id.
43
   U.S. Const. Art. VI, cl. 2.
44
   Bush v. Gore, 531 U.S. 98, 104 (citing U.S. CONST. art. II, § 1).


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        47.       State legislatures have plenary power to set the process for appointing presidential

electors: “Each State shall appoint, in such Manner as the Legislature thereof may direct, a Number

of Electors.”45

        48.       At the time of the Founding, most States did not appoint electors through popular

statewide elections. In the first presidential election, six of the ten States that appointed electors did

so by direct legislative appointment.46

        49.       In the second presidential election, nine of the fifteen States that appointed electors

did so by direct legislative appointment.47

        50.       In the third presidential election, nine of sixteen States that appointed electors did so

by direct legislative appointment. Id. at 31. This practice persisted in lesser degrees through the

Election of 1860.

        51.       Though “[h]istory has now favored the voter,” Bush, 531 U.S. at 104, “there is no

doubt of the right of the legislature to resume the power [of appointing presidential electors] at any

time, for it can neither be taken away nor abdicated.”48

        52.       Given the State legislatures’ constitutional primacy in selecting presidential electors,

the ability to set rules governing the casting of ballots and counting of votes cannot be usurped by

other branches of state government—nor the federal government.

        53.       The Framers of the Constitution decided to select the President through the

Electoral College “to afford as little opportunity as possible to tumult and disorder” and to place



45
   U.S. Const. Art. II, §1, cl. 2; see also Bush v. Gore, 531 U.S. at 104 (“[T]he state legislature’s power to
select the manner for appointing electors is plenary.” (emphasis added)).
46
   McPherson v. Blacker, 146 U.S. 1, 29-30 (1892).
47
   Id. at 32.
48
   McPherson, 146 U.S. at 35 (emphasis added); cf. 3 U.S.C. § 2 (“Whenever any State has held an
election for the purpose of choosing electors, and has failed to make a choice on the day prescribed
by law, the electors may be appointed on a subsequent day in such a manner as the legislature of
such State may direct.”).


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“every practicable obstacle [to] cabal, intrigue, and corruption,” including “foreign powers” that

might try to insinuate themselves into our elections.49 Federalist No. 68, at 410-11 (C. Rossiter, ed.

1961) (Madison, J.).

           54.     The Plaintiffs constitutional claims in this lawsuit are principally based on one

sentence in Article II of the U.S. Constitution. The sentence has eighty-five words. The

constitutional sentence provides:

                 He shall hold his office during the term of four years, and, together with the Vice
                 President, chosen for the same term, be elected, as follows: Each state shall
                 appoint, in such manner as the Legislature thereof may direct, a number of
                 electors, equal to the whole number of Senators and Representatives to which
                 the State may be entitled in the Congress: but no Senator or Representative, or
                 person holding an office of trust or profit under the United States, shall be
                 appointed an elector.

           55.     The Plaintiffs’ claims, based on this constitutional, imperative, sentence, are that

post-election certification of Presidential votes and post-election certification of Presidential electors

are exclusively state legislative decisions; accordingly, Governors, federal courts and state courts

have no constitutionally-permitted role in post-election certifications of Presidential votes and of

Presidential electors.

           56.     Accordingly, the Plaintiffs claim that 3 U.S.C. § 5, 6 and 15 and state laws (such as

Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann. § 21-2-499 (B), Mich. Comp. Laws § 168.46, Wis. Stat.

§ 7.70 (5) (b) and 25 Pa. Cons. Stat. § 3166) eviscerating these state legislative prerogatives, every

four years, are unconstitutional.

           57.     Under Article II, Congress lacks legal authority to enact laws interfering with the

state-by-state state legislative post-election certifications of Presidential votes and of Presidential

electors as it has done with 3 U.S.C. §§ 5, 6 and 15. There are textual and structural arguments for




49
     See, supra, Note 14.


                                                      25
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these federal statutes being unconstitutional.50 The Plaintiffs claim that 3 U.S.C. §§ 5, 6 and 15 are

unconstitutional interferences with the state legislative prerogatives guaranteed by the Constitution.

          58.     Analogously, under Article II, the state legislatures lack legal authority to enact state

laws which are a perpetual and wholesale delegation of post-election certifications of Presidential

votes and of Presidential electors to state executive branch officials—as they have done in Ariz. Rev.

Stat. § 16-212 (B) (Arizona Secretary of State), Ga. Code Ann. § 21-2-499 (B) (Georgia Secretary of

State and Governor), Mich. Comp. Laws Ann. § 168.46 (Michigan State Board of Canvassers and

Governor), Wis. Stat. § 7.70 (5) (b) (Wisconsin Elections Commission); and 25 Pa. Cons. Stat. §

3166 (Secretary of Commonwealth and Governor).

          59.     Article II, and its non-delegation doctrine, left it to the state legislatures to “direct”

post-election certification of Presidential electors—not to “delegate” post-election certifications,

perpetually and in a wholesale fashion, to state executive branch officials as a ministerial duty. There

are textual and structural arguments for these state statutes being unconstitutional. Plaintiffs claim

that Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann. § 21-2-499 (B), Mich. Comp. Laws Ann. § 168.46,

Wis. Stat. § 7.70 (5) (b), 25 Pa. Cons. Stat. § 3166 are unconstitutional delegation of the state

legislative prerogatives of post-election certifications of Presidential votes and of Presidential

electors.

          60.     Further, the state constitutions of the Defendant States do not require the state

legislature to meet for post-election certification of the Presidential electors. Arizona’s, Georgia’s

and Pennsylvania’s Constitutions have the state legislature adjourned until January 2021.51 Michigan’s




50
     Vasan Kesavan, Is the Electoral Count Act Unconstitutional, 80 N.C. L. Rev. 1653, 1696-1793 (2002).
51
     Ariz. Const. Art. IV, Part 2, Sec. 3; Ga. Const. Art. III, § IV, ¶ 1(a). Pa. Const. Art. II, § 4.


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and Wisconsin’s Constitutions permit the state legislature to be in session, but do not require a joint

session of the state legislature to affirmatively vote for Presidential post-election certifications.52

          61.      Based on this legal background, Plaintiffs claim, under the Article II, that if there is

no state legislative post-election certifications of Presidential votes and of Presidential electors in the

Defendant States, then those Defendant States’ Presidential electors votes, not so certified, cannot

be counted by the federal Defendants for President and Vice President under Article II.

B.        The Defendants, except state legislatures, are involved in post-election certifications
          of Presidential votes and of Presidential electors or counting their ballots to elect the
          President and Vice President.

          62.     Under 3 U.S.C. §§ 5, 6 and 12, each of the Defendants, except the state legislatures,

have a role to play in state post-election certifications of Presidential votes and of a state’s

Presidential electors or counting of the Presidential Electors’ votes.

          63.     Under 3 U.S.C. § 15, “Congress shall be in session on the sixth day of January

succeeding every meeting of electors. The Senate and House of Representatives shall meet in the

Hall of the House of Representatives at the hour of 1 o’clock in the afternoon on that day.”

          64.     Under 3 U.S.C. § 15, Vice President Michael Richard Pence is the presiding officer

on January 6, 2021: “and the President of the Senate shall be their presiding officer.”

          65.     Vice President Pence, the U.S. Senate and the U.S. House of Representatives are

Defendants presume under 3 U.S.C. §§ 5 and 6, that each state’s Presidential elector votes because

they are designated by the Governor of each Defendant State can be counted without state

legislative post-election certification.

          66.     3 U.S.C. § 5 provides:

          If any State shall have provided, by laws enacted prior to the day fixed for the
          appointment of the electors, for its final determination of any controversy or contest
          concerning the appointment of all or any of the electors of such State, by judicial or

52
     Mich. Const. Art. IV, § 13; Wis. Const. Art. IV, § 11.


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        other methods or procedures, and such determination shall have been made at least
        six days before the time fixed for the meeting of the electors, such determination made
        pursuant to such law so existing on said day, and made at least six days prior to said
        time of meeting of the electors, shall be conclusive, and shall govern in the counting
        of the electoral votes as provided in the Constitution, and as hereinafter regulated, so
        far as the ascertainment of the electors appointed by such State is concerned.

        67.      3 U.S.C. § 6 provides:

        It shall be the duty of the executive of each State, as soon as practicable after the
        conclusion of the appointment of the electors in such State by the final ascertainment,
        under and in pursuance of the laws of such State providing for such ascertainment, to
        communicate by registered mail under the seal of the State to the Archivist of the
        United States a certificate of such ascertainment of the electors appointed, setting
        forth the names of such electors and the canvass or other ascertainment under the
        laws of such State of the number of votes given or cast for each person for whose
        appointment any and all votes have been given or cast; and it shall also thereupon be
        the duty of the executive of each State to deliver to the electors of such State, on or
        before the day on which they are required by section 7 of this title to meet, six
        duplicate-originals of the same certificate under the seal of the State; and if there shall
        have been any final determination in a State in the manner provided for by law of a
        controversy or contest concerning the appointment of all or any of the electors of
        such State, it shall be the duty of the executive of such State, as soon as practicable
        after such determination, to communicate under the seal of the State to the Archivist
        of the United States a certificate of such determination in form and manner as the
        same shall have been made; and the certificate or certificates so received by the
        Archivist of the United States shall be preserved by him for one year and shall be a
        part of the public records of his office and shall be open to public inspection; and the
        Archivist of the United States at the first meeting of Congress thereafter shall transmit
        to the two Houses of Congress copies in full of each and every such certificate so
        received at the National Archives and Records Administration.

        68.      The Plaintiffs claim that the presumption is constitutionally incorrect; under Article

II, Defendants Vice President Pence, the U.S. House of Representatives and the United States

Senate can only open up and count Presidential elector ballots if the state legislature has

affirmatively voted to certify the Presidential electors; otherwise, the votes of the Presidential

electors cannot be counted. The Plaintiffs claim that the Vice President and U.S. Congress act

unconstitutionally in this election and future elections when they count votes of Presidential electors

where the respective state legislature has not affirmatively voted in favor of post-election

certification.



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        69.      Similarly, the Defendant States’ executives, Governor Tom Wolf of Pennsylvania,

Governor Gretchen Whitmer of Michigan, Governor Tony Evers of Wisconsin, Governor Brian

Kemp of Georgia, and Governor Doug Ducey of Arizona under 3 U.S.C. § 6 and their respective

state’s laws, have designated the Presidential electors under the assumption that state executive

branch certification is all that is required.53

        70.      But, Governor Tom Wolf of Pennsylvania, Governor Gretchen Whitmer of

Michigan, Governor Tony Evers of Wisconsin, Governor Brian Kemp of Georgia, and Governor

Doug Ducey of Arizona are constitutionally mistaken because the designated by the Governor of

each Defendant State cannot cure that the Presidential electors are without state legislative post-

election certification. Until the state legislature certifies the Presidential electors, the respective

Governor’s designation under 3 U.S.C. § 6 and their respective state’s laws have no legal effect.

        71.      Absent the state legislative post-election certification required by Article II, the

Governor’s designation of Presidential electors has no legal effect because their votes cannot be

counted by the Vice President, U.S. Senate and U.S. House of Representatives.

        72.      Finally, Article II requires the Defendants’ state legislative leaders to act to vote on

post-election certification of the Presidential electors. But, instead, the state legislatures violate this

constitutional duty because of their state laws which are a perpetual and wholesale delegation of

post-election certifications to state executive branch officials—as they have done in

Ariz. Rev. Stat. § 16-212 (B) (Arizona Secretary of State), Ga. Code Ann. § 21-2-499 (B) (Georgia

Secretary of State and Governor), Mich. Comp. Laws Ann. § 168.46 (Michigan State Board of

Canvassers and Governor), Wis. Stat. § 7.70 (5) (b) (Wisconsin Elections Commission); and 25 Pa.

Cons. Stat. § 3166 (Secretary of Commonwealth and Governor).



53
  See 25 Pa. Cons. Stat. § 3166; Mich. Comp. Laws Ann. § 168.46; W.S.A. § 7.70; Ga. Code Ann., §
21-2-499(b); Ariz. Rev. Stat. § 16-212.


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         73.     The Plaintiffs claim that Article II, and its non-delegation doctrine, permanently left

it to the state legislatures to “direct” post-election certifications of Presidential votes and of

Presidential electors, not to delegate post-election certifications, perpetually and in a wholesale

fashion, to state executive branch officials as a ministerial duty.

         74.     In this way, the Defendant States’ legislative leaders, including Speaker Bryan Carter

of the Pennsylvania House of Representatives, Senate Majority Leader Jake Corman of the

Pennsylvania Senate, Speaker Lee Chatfield of the Michigan House of Representatives, Senate

Majority Leader Mike Shirkey of the Michigan Senate, Speaker Robin Vos of the Wisconsin State

Assembly, Senate Majority Leader Howard Marklein of the Wisconsin Senate, Speaker David

Ralston of the Georgia House of Representatives, Senate President Pro Tempore Butch Miller of

the Georgia Senate, Speaker Russell Bowers of the Arizona House of Representatives, and Senate

Majority Leader Rick Gray of the Arizona Senate are violating their duties under Article II by not

voting on post-election certification of the Presidential electors so their votes can constitutionally

count.

         75.     State legislative post-election certifications of Presidential votes and of Presidential

electors are part of constitutionally-protected voting rights. Everyone who votes—distinguishable

from those who don’t—have a constitutionally-protected interest in state legislative post-election

certification of Presidential electors. The Defendants violate those voting rights by counting ballots

of Presidential electors without the constitutionally-required state legislative post-election

certification.

C.       Presidential post-election court proceedings—like the 2000 Bush v. Gore litigation, the
         2020 Texas original action and the 2020 thirty post-election lawsuits in Defendant
         States—are in constitutional error and unnecessarily politicize the federal and state
         courts in a national way.

         76.     The Presidential post-election court proceedings—like the 2000 Bush v. Gore

litigation, the 2020 Texas original action and the 2020 thirty post-election lawsuits in Defendant


                                                    30
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States—are in constitutional error and unnecessarily politicize the federal and state courts—and in a

nationwide way. Under Article II, all of those Presidential post-election cases should have been

dismissed for lack of jurisdiction—and the plaintiffs should have been instructed to file their

Presidential election contests with their respective state legislatures.

        77.     The Defendant States have election contest or recount laws, which apply to

Presidential elections, but unconstitutionally preclude state legislative post-election certifications of

Presidential votes and Presidential electors: Ariz. Rev. Stat. § 16-672; Ga. Code Ann.§ 21-2-521;

Mich. Comp. Laws § 168.862; Wis. Stat. § 9.01; and 25 Pa. Cons. Stat. § 3351.

        78.     Interestingly, the Pennsylvania laws have a state legislative post-election certification

process for its Governor and Lieutenant Governor elections—but not for President and Vice

President. 25 Pa. Cons. Stat. § 3312, et seq.

D.      In 2000, the U.S. Supreme Court engaged in a Presidential post-election litigation in
        Florida.

        79.     In 2000, the U.S. Supreme Court engaged in Presidential post-election litigation in

Florida. Bush v. Gore, 531 U.S. 98 (2000).

        80.     Plaintiffs claim, under Article II, that this post-election case in 2000 likely should

have been dismissed for lack of jurisdiction with instructions for the Plaintiffs to file their election

claims with the Florida state legislature.

E.      In 2020, approximately thirty post-election lawsuits are filed in Defendants States
        regarding election official errors and improprieties.

        81.     Approximately thirty post-election lawsuits regarding Pennsylvania, Michigan,

Wisconsin, Georgia and Arizona election official errors and improprieties were filed.54



54
 See “Postelection lawsuits related to the 2020 United States presidential election,” found at
https://en.wikipedia.org/wiki/Postelection_lawsuits_related_to_the_2020_United_States_presidential_election#
Wood_v._Raffensperger (last visited: Dec. 15, 2020). This complaint’s citations to the appendix,
principally, detail lawsuit allegations found in these Pennsylvania, Michigan, Wisconsin, Georgia and


                                                     31
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        82.     Plaintiffs claim, under Article II, that these post-election cases should have been

dismissed for lack of jurisdiction with instructions that the Plaintiffs should file such claims with

their respective state legislatures in Pennsylvania, Michigan, Wisconsin, Georgia and Arizona.

F.      In 2020, Texas sued Pennsylvania, Michigan, Wisconsin and Georgia in the U.S.
        Supreme Court to adjudicate election irregularities and improprieties.

        83.     On December 7, 2020, Texas filed an original action in the U.S. Supreme Court,

Case No. 20O155, against Pennsylvania, Michigan, Wisconsin and Georgia for election irregularities

and improprieties. On December 9, Missouri and 16 other states filed a motion for leave to file an

amicus curiae brief in support of Texas. On December 10, U.S. Representative Mike Johnson and

105 other members submitted a motion for leave to file amicus brief in support of Texas. On

December 11, the U.S. Supreme Court dismissed the original action in a text order:

        The State of Texas’s motion for leave to file a bill of complaint is denied for lack of
        standing under Article III of the Constitution. Texas has not demonstrated a judicially
        cognizable interest in the manner in which another State conducts its elections. All
        other pending motions are dismissed as moot. Statement of Justice Alito, with whom
        Justice Thomas joins: In my view, we do not have discretion to deny the filing of a bill
        of complaint in a case that falls within our original jurisdiction.
        See Arizona v. California, 589 U. S. ___ (Feb. 24, 2020) (Thomas, J., dissenting). I would
        therefore grant the motion to file the bill of complaint but would not grant other relief,
        and I express no view on any other issue.55

        84.     Plaintiffs claim, under Article II, that this post-election case filed in the U.S. Supreme

Court should have been dismissed for lack of jurisdiction with instructions that voter in each state

could file their respective claims with their respective state legislatures in Pennsylvania, Michigan,

Wisconsin and Georgia.



Arizona lawsuits alleging election official errors and improprieties. In Defendants’ states, voter
allegations exist which allege that the election officials’ errors and improprieties exceed the razor-
thin margins of Presidential contests—as further herein.
55
   Plaintiffs agree that the State of Texas lacked standing, but the original action itself begs the
question, “Is the U.S. Supreme Court the final adjudicator for certification of Presidential electors?”
The Plaintiffs’ answer is no; the respective state legislatures are the final determiner of post-election
certifications of Presidential votes and of Presidential electors—and, in a non-delegable way.


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G.        The Presidential electors for Biden and Trump in the Defendant States voted on
          December 14, but none of the Presidential Electors received state legislative post-
          election certification.

          85.     Under 3 U.S.C. §§ 5 and 6, the Presidential electors for Biden and Trump met and

voted in their Defendant States on December 14.

          86.     The Presidential electors for Biden in the Defendant States were certified by state

executive branch officials in the Defendant States under 3 U.S.C. §§ 5 and 6 and the respective state

laws.

          87.     Neither the Presidential electors for Biden nor the Presidential electors for Trump in

the Defendant States received a state legislative post-election affirmative vote for certification.

          88.     The Presidential electors for Biden in the Defendant States voted for Biden as

President and Harris as Vice President.

          89.     The Presidential electors for Trump in the Defendant States voted for Trump as

President and Pence as Vice President.56

          90.     Plaintiffs claim that none of these Presidential electors’ votes should be counted by

federal Defendants in the election of President and Vice President until the Presidential electors

receive from their respective state legislatures an affirmative vote for post-election certification.

H.        Under federal and state law, in the Defendant States, the respective state legislatures
          do not vote on post-election certification of Presidential electors.

          91.     Congress has enacted 3 U.S.C. §§ 5, 6 and 15 which significantly restrict state

legislatures’ constitutional prerogative to post-election certification of Presidential electors.

          92.     In turn, the state legislatures in the Defendant States have enacted state laws which

are a perpetual and wholesale delegation of post-election certification to state executive branch

officials—as they have done in Ariz. Rev. Stat. § 16-212 (B) (Arizona Secretary of State), Ga. Code



56
     See Michigan Trump Electors Certificate, Appendix 1471.


                                                    33
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Ann. § 21-2-499 (B) (Georgia Secretary of State and Governor), Mich. Comp. Laws Ann. § 168.46

(Michigan State Board of Canvassers and Governor), Wis. Stat. § 7.70 (5) (b) (Wisconsin Elections

Commission); and 25 Pa. Cons. Stat. § 3166 (Secretary of Commonwealth and Governor).

           93.     Further, the state constitutions of the Defendant States fail to require the state

legislature to meet for post-election certification of the Presidential electors in violation of state

legislative constitutional duties under Article II of the U.S. Constitution. Arizona’s, Georgia’s and

Pennsylvania’s Constitutions have the state legislature adjourned until January 2021.57 Michigan’s and

Wisconsin’s Constitutions permit the state legislature to be in session, but do not require a joint

session of the state legislature to affirmatively vote for post-election certification of Presidential

electors.58

I.         Voters’ allegations in each of the Defendant States—alleging election officials’
           absentee ballot errors and improprieties exceed Presidential vote margins—are
           constitutionally resolved by state legislative post-certifications of Presidential votes
           and Presidential electors—not in this Court or any other court.

           94.     Plaintiffs allege that voters allege in each of the Defendant States that election

officials’ absentee ballot errors and improprieties exceed Presidential vote margins.

           95.     The Defendant States’ voters’ claims should be constitutionally resolved by state

legislative post-certifications of Presidential votes and Presidential electors—as Article II requires.

           96.     None of the voters’ allegations in each of the Defendant States—that is the

allegations stated further below—should be adjudicated in this Court or any other Court, because it

is the exclusive constitutional prerogative of the state legislatures to determine post-election

certifications of Presidential votes and of Presidential electors.




57
     Ariz. Const. Art. IV, Part 2, Sec. 3; Ga. Const. Art. III, § IV, ¶ 1(a). Pa. Const. Art. II, § 4.
58
     Mich. Const. Art. IV, § 13; Wis. Const. Art. IV, § 11.


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J.        Defendant States’ voters allege Zuckerberg moneys gifted to urban election officials
          in Defendant States who violated absentee ballot security measures.

          97.     Defendant States’ voters have alleged, in 2020, a systematic effort was launched in

Defendant States, using $350,000,000 in private money sourced to Mark Zuckerberg, the Facebook

billionaire, to illegally circumvent absentee voting laws to cast tens of thousands of illegal absentee

ballots.59

          98.     Defendants States’ votes have alleged that the Zuckerberg-funded private

organization, the Center for Technology and Civic Life (CTCL), gifted millions of dollars to election

officials in Democratic Party urban strongholds in Georgia, Wisconsin, Pennsylvania, Michigan and

Arizona in order for those cities to facilitate the use of absentee voting: Fulton County (GA),

Milwaukee (WI), Madison (WI), Philadelphia (PA), Wayne County (MI) and Maricopa County

(AZ).60

          99.     Defendant States’ voters have alleged that in these counties and cities receiving

CTCL funds, election officials adopted various respective policies and customs eviscerating state law

absentee ballot security measures such as witness address, name and signature requirements and

voter address, name and signature requirements.61

          100.    Defendant States’ voters have alleged that these urban election officials also used the

CTCL funds for absentee ballot drop boxes treating urban voters preferentially to small-town and

rural voters.62




59
   See App. 21-30; 31-38; and 1079-1112.
60
   Id.
61
   Id.
62
   Id.


                                                    35
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K.      The government’s pre-election certification error rate of voting system’s software and
        hardware is 0.0008%.

        101.    The federal government has a pre-election standard for state voting system’s

software and hardware.63

        102.    Under federal law, this maximum-acceptable error rate is one in 500,000 ballot

positions, or, alternatively one in 125,000 ballots—0.0008 %.64

        103.    Section 3.2.1 of the voting systems standards issued by the Federal Elections

Commission (FEC) which were in effect on the date of the enactment of the Help America Vote

Act (HAVA) provides that the voting system shall achieve a maximum acceptable error rate in the

test process of one in 500,000 ballot positions.65

        104.     A ballot position is every possible selection on the ballot, to include empty spaces.

As stated in the voting systems standards (VSS), “[t]his rate is set at a sufficiently stringent level such

that the likelihood of voting system errors affecting the outcome of an election is exceptionally

remote even in the closest of elections.”66

        105.    An update to the FEC VSS was made by the Election Assistance Commission (EAC)

to enhance the FEC VSS standards, which each state has adopted by law.67

        106.    The FEC VSS standard provides for an error rate of one in 125,000 ballots

(0.0008%) as an alternative to the one in 500,000 ballot positions to make it easier to calculate the

error rate.68




63
   See Expert Report of Dennis Nathan Cain (I), App. 52-59; 1411-1418.
64
   Id.
65
   Id.
66
   Id.
67
   Id.
68
   Id.


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        107.     The FEC standards, which are incorporated into the Help America Vote Act §

301(a)(5), require that all systems be tested in order to certify that they meet the maximum-

acceptable error rate set by federal law.69

L.      Voters’ allegations in each of the Defendant States support that election officials’
        absentee ballot errors and improprieties exceed Presidential vote margins.

        108.     The use of absentee and mail-in ballots skyrocketed in 2020, not only as a public-

health response to the COVID-19 pandemic but also at the urging of mail-in voting’s proponents,

and most especially executive branch officials in Defendant States. According to the Pew Research

Center, in the 2020 general election, a record number of votes—about 65 million—were cast via

mail compared to 33.5 million mail-in ballots cast in the 2016 general election—an increase of more

than 94 percent.70

        109.     In the wake of the contested 2000 election, the bipartisan Jimmy Carter-James Baker

commission identified absentee ballots as “the largest source of potential voter fraud.”71

        110.     Concern over the use of mail-in ballots is not novel to the modern era,72 but it

remains a current concern.73

        111.     Absentee and mail-in voting are the primary opportunities for unlawful ballots to be

cast.



69
   Id.
70
   Desilver, Drew. Most mail and provisional ballots got counted in past U.S. elections – but many
did not. Pew Research Center. 10 November 2020. https://www.pewresearch.org/fact-
tank/2020/11/10/most-mail-and-provisional-ballots-got-counted-in-past-u-s-elections-but-many-
did-not/ Accessed 12.18.20.
71
   Building Confidence in U.S. Elections: Report of the Commission on Federal Elections, at 46 (Sept. 2005).
72
   Dustin Waters, Mail-in Ballots Were Part of a Plot to Deny Lincoln Reelection in 1864, Wash. Post (Aug.
22, 2020)
73
   Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 194-96 & n.11 (2008); see also Texas Office of the
Attorney General, AG Paxton Announces Joint Prosecution of Gregg County Organized Election Fraud in
Mail-In Balloting Scheme (Sept. 24, 2020); Harriet Alexander & Ariel Zilber, Minneapolis police opens
investigation into reports that Ilhan Omar's supporters illegally harvested Democrat ballots in Minnesota, Daily
Mail, Sept. 28, 2020.


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        112.    Defendant States voters allege that as a result of expanded absentee and mail-in

voting in Defendant States, combined with Defendant States’ unconstitutional modification of

statutory protections designed to ensure ballot integrity, Defendant States created a massive

opportunity for fraud.

        113.    Defendant States voters allege that the Defendant States have made it difficult or

impossible to separate the constitutionally tainted mail-in ballots from all mail-in ballots.

        114.    Defendant States voters allege that tather than augment safeguards against illegal

voting in anticipation of the millions of additional mail-in ballots flooding their States, Defendant

States materially weakened, or did away with, security measures, such as witness or signature

verification procedures, required by their respective legislatures. Their legislatures established those

commonsense safeguards to prevent—or at least reduce—fraudulent mail-in ballots.

        115.    Defendant States voters allege, in Defendant States, that Democrat voters voted by

mail at two to three times the rate of Republicans. Thus, the Democratic candidate for President

thus greatly benefited from this unconstitutional usurpation of legislative authority, and the

weakening of legislative mandated ballot security measures.

        116.    Defendant States voters allege that the outcome of the Electoral College vote is

directly affected by the constitutional violations committed by Defendant States. Defendant States

violated the Constitution in the process of appointing presidential electors by unlawfully abrogating

state election laws designed to protect the integrity of the ballots and the electoral process, and those

violations proximately caused the unconstitutional appointment of presidential electors.

        117.    Plaintiffs will therefore be injured if Defendant States’ unlawful certification of these

Presidential electors, because the Presidential electors have not received state legislative post-election

certification, is allowed to stand.




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            1. Commonwealth of Pennsylvania voters allege election official errors and
               improprieties which exceed the Presidential vote margin.74

           118.   Commonwealth of Pennsylvania voters allege election official errors and

improprieties which exceed the Presidential vote margin.

           119.   Pennsylvania has 20 electoral votes, with a statewide vote tally currently estimated at

3,363,951 for President Trump and 3,445,548 for former Vice President Biden, a margin of 81,597

votes.75

           120.   Pennsylvania voters have alleged the number of votes affected by the various

constitutional violations exceeds the margin of votes separating the candidates.

           121.   By letter dated December 13, 2019, the Auditor General of the Commonwealth of

Pennsylvania, Eugene A. DePasquale, issued to the Governor of the Commonwealth of

Pennsylvania a Performance Audit Report of the Pennsylvania Department of State's Statewide

Uniform Registry of Electors.76

           122.   The Performance Audit Report was conducted pursuant to an Interagency

Agreement between the Pennsylvania Department of State and the Pennsylvania Department of the

Auditor General.

           123.   The Performance Audit Report contained seven Findings, to wit:

             i.   Finding One: As a result of the Department of State's denial of access to
                  critical documents and excessive redaction of documentation, the Department
                  of the Auditor General was severely restricted from meeting its audit objectives
                  in an audit which the Department of State itself had requested.




74
   See Timeline of Electoral Policy Activities, Issues, and Litigation Pennsylvania, Michigan,
Wisconsin, Georgia, Arizona, and Nevada August 2003 to November 2020, App. 1-20
(demonstrating full extent of inappropriate activities).
75
   WNWP 2020 Pennsylvania Election Results. https://www.wnep.com/elections (last visited Dec.
18, 2020).
76
   See Auditor General's Performance Audit Report, App. 413-604; see also App. 397-412.


                                                    39
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          ii.   Finding Two: Data analysis identified tens of thousands of potential duplicate
                and inaccurate voter records, as well as voter records for nearly three thousand
                potentially deceased voters that had not been removed from the SURE system.

         iii.   Finding Three: The Department of State much implement leading information
                technology security practices and information technology general controls to
                protect the SURE system and ensure the reliability of voter registration.

         iv.    Finding Four: Voter record information is inaccurate due to weakness in the
                voter registration application process and the maintenance of voter records in
                the SURE system.

          v.    Finding Five: Incorporating edit checks and other improvements into the
                design of the replacement system for SURE will reduce data errors and
                improve accuracy.

         vi.    Finding Six: A combination of a lack of cooperation by certain county election
                offices and PennDOT, as well as source documents not being available for
                seventy percent of our test sample, resulted in our inability to form any
                conclusions as to the accuracy of the entire population of voter records
                maintained in the SURE system.

        vii.    Finding Seven: The Department of State should update current job aids and
                develop additional job aids and guidance to address issues such as duplicate
                voter records, records of potentially deceased voters on the voter rolls,
                pending applications, and records retention. See Auditor General's
                Performance Audit Report.77

        124.    In addition to the Findings, the Performance Audit Report contained specific

detailed Recommendations to correct the significant deficiencies identified in the Findings of the

Performance Audit Report.

        125.    In 2018, Secretary Boockvar was quoted as stating "Rock the Vote's web tool was

connected to our system, making the process of registering through their online programs, and those

of their partners, seamless for voters across Pennsylvania."78




77
  Supra.
78
  Rock the Vote, 2018 Annual Report, pg. 12. https://www.rockthevote.org/wp-
content/uploads/Rock-the-Vote-2018-Annual-Report.pdf. (last visited Dec. 18, 2020).


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        126.    In addition, Plaintiffs have obtained a sworn Affidavit from Jesse Richard Morgan,

who was contracted to haul mail for the United States Postal Service within the Commonwealth of

Pennsylvania. Mr. Morgan’s Affidavit alleges that he was directed to transport from New York to

Pennsylvania what he believes to be completed Pennsylvania ballots in the 2020 General Election.79

        127.    Plaintiffs based on Pennsylvania voters’ allegations that this matter is currently under

investigation by various entities and that such investigation is essential to the determination of

whether or not approximately 200,000 ballots were delivered into the Pennsylvania System

improperly or illegally. Pending such determination, there is no possible way that the validity of

Pennsylvania’s Presidential Election could possibly be certified by anyone.

        128.    Based on Pennsylvania voters’ allegations, there is evidence of possible back-dating

of ballots in the United States Postal facility at Erie, Pennsylvania. And, further, Francis X. Ryan’s

Report, discussed in detail below, evidences thousands of questionable or improper ballots cast in

the 2020 Presidential Election in Pennsylvania.80

        129.    In addition, Plaintiffs have obtained a Declaration from Ingmar Njus in support of

Mr. Morgan's Affidavit.81

        130.    Based on Pennsylvania voters’ allegations, in the run-up to the election, the

Pennsylvania Supreme Court usurped the powers of the General Assembly when it permitted county

boards of election to accept hand-delivered mail-in ballots at locations other than the respective

offices of the boards of election, including through the use of drop-boxes arbitrarily located




79
   See Jesse Richard Morgan Declaration, App. 152-179; 605-632; see also Declaration of Leslie J.
Brabandt, App. 187-189; see also Expert Declaration of Roland Smith, App. 190-200.
80
   See Francis X. Ryan Declaration, App. 660-666. For additional evidence, see App. 667-834.
81
   See Ingmar Njus Declaration, App. 183-186; 633-636.


                                                    41
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throughout the county; and, when it extended the deadline for receipt of absentee and mail-in ballots

by three days from 8:00 p.m. on Election Day to 5:00 p.m. on November 6, 2020.82

       131.    In the same Opinion, the Court held that "although the Election Code provides the

procedure for casting and counting a vote by mail, it does not provide for the 'notice and

opportunity to cure' …"83

       132.    The Court went on to state "… we agree that the decision to provide a 'notice and

opportunity to cure' procedure … is one best suited for the Legislature."84

       133.    Of note, Secretary Boockvar agreed with the Court that Pennsylvania's Election

Code does not provide a notice and opportunity to cure procedure.

       134.    Based on Pennsylvania voters’ allegations, despite the lack of any statutory

authorization or legal authority, county boards of elections in democratic counties, such as,

Montgomery County, routinely helped identify, facilitate and permitted electors to alter their

defective absentee and mail-in ballots in violation of Pennsylvania's Election Code.85

       135.    In an October 31, 2020, e-mail, Frank Dean, Director of Mail-in Elections of

Montgomery County emailed the latest list of confidential elector information to two other

Montgomery County election officials, Lee Soltysiak and Josh Stein, and wrote:




82
   Pennsylvania Democratic Party v. Boockvar, No. 133 MM 2020, 2020 WL 5554644, at *20 (Pa. Sept. 17,
2020); see also In re: November 3, 2020 General Election, 2020 WL 6252803, at *7 (Pa. Oct. 23, 2020).
83
   Id. at 20.
84
   Id. at 20.
85
   See Carlson Report on Voter Suppression through Executive and Administrative Actions, App. 31-
38.


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          136.   Based on Pennsylvania voters’ allegations, there is no authority within Pennsylvania's

Election Code that authorizes election officials to manually alter the information contained within

the SURE system for the purposes described by Director Dean.

          137.   In order to cancel or replace an elector's absentee or mail-in ballot, election officials

would be required to manually alter or override the information contained in the Commonwealth's

Statewide Uniform Registry of Electors (“SURE”).

          138.   Based on Pennsylvania voters’ allegations, there is no authority within Pennsylvania's

Election Code that authorizes election officials to cancel and/or replace an elector's absentee or

mail-in ballot as described by Director Dean.

          139.   Further, based on Pennsylvania voters’ allegations, in violation of electors' right to

secrecy in their ballots, election officials in democratic counties, such as Montgomery County, used

the information gathered through their inspection of the ballot envelopes to identify the names of

electors who had cast defective absentee or mail-in ballot envelopes.86


86
     Art. VII, Error! Main Document Only.§4 PA Const.


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        140.    Based on Pennsylvania voters’ allegations, the Excel spreadsheet attached to Director

Dean’s October 31, 2020, e-mail notes that when mail-in or absentee ballot envelopes were found to

be defective, some electors were provided with the opportunity to alter their ballot envelopes.

        141.    Based on Pennsylvania voters’ allegations, the photograph below shows some of the

thousands of absentee and mail-in ballots pre-canvassed by the Montgomery County Board of

Elections in violation of the Election Code.87 These defective ballots were not secured in any way

and were easily accessible to the public.88




        142.    Further, based on Pennsylvania voters’ allegations, the next picture shows page 1 or

124 pages that include thousands of defective ballot envelopes that Montgomery County elections

officials were trying to "cure" in violation of Pennsylvania's Election Code and Constitution.




87
   This “Ballots for Sale” photo was taken on 11/01/2020 by Robert Gillies during a tour of the
Montgomery County mail-in ballot storage and canvass facility.
88
   See Expert Declaration of Gregory Moulthrop, App. 48-51.


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       143.    Based on Pennsylvania voters’ allegations, in a further effort to circumvent

Pennsylvania's Election Code and the prohibition against efforts to "cure" absentee and mail-in

ballot envelopes, Secretary Boockvar, issued guidance, through Jonathan Marks, the Deputy

Secretary of Elections and Commissions, just hours before Election Day directing county boards of

elections to provide electors who have cast defective absentee or mail-in ballots with provisional

ballots and to promptly update the SURE system.

       144.    The Deputy Secretary for Elections and Commissions issued an email which stated:




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          145.    Based on Pennsylvania voters’ allegations, in order to obtain a provisional ballot on

Election Day, an elector who previously requested an absentee or mail-in ballot must sign an

affidavit stating "I do solemnly swear or affirm that my name is … and that this is the only ballot

that I cast in this election."89

          146.    Based on Pennsylvania voters’ allegations, if an elector has already submitted an

absentee or mail-in ballot and that ballot was received by his or her county board of elections, the

elector cannot truthfully affirm that the provisional ballot is the only ballot cast by them in the

election. The provisional ballot would in fact be a second ballot cast by the elector.




89
     25 Pa. Cons. Stat. §3146.8; 25 Pa. Cons. Stat. §3050.


                                                     46
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        147.    Based on Pennsylvania voters’ allegations, Secretary Boockvar's actions appear

conveniently timed with the actions of the Democratic Party who apparently considered the matter

to be URGENT.




        148.    Based on Pennsylvania voters’ allegations, Deputy Secretary Marks issued his email at

8:38 p.m. on November 2, 2020, on the eve of Election Day. Under the Election Code, provisional

ballots are only used on Election Day. Less than twelve hours after Deputy Secretary Marks' email,

the Democratic Party had printed handbills telling electors "Public records show that your ballot had

errors and was not accepted." and to "Go in person to vote at your polling place today by 8:00 EST

and ask for a provisional ballot."




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          149.    Based on Pennsylvania voters’ allegations, the effect to utilize provisional ballots to

"cure" defective absentee and mail-in ballots is in clear violation of Pennsylvania's Election Code.

The number of provisional ballots cast in Pennsylvania is approximately 90,000 which is significantly

higher than previous General Elections.

          150.    Further, based on Pennsylvania voters’ allegations, it is not clear what Deputy

Secretary Marks intended when he stated "To facilitate communication with these voters, the county

boards of elections should provide information to party and candidate representatives during the

pre-canvassing that identifies the voters whose ballots have been rejected and should promptly

update the SURE system."

          151.    Based on Pennsylvania voters’ allegations, Pennsylvania's Election Code makes no

provision for the acceptance or rejection of ballots during the pre-canvassing process, nor does the

Election Code provide boards of elections with the authority to "update the SURE system" so that

an electors who previously submitted an absentee or mail-in ballot may vote with a provisional

ballot.

          152.    The Pennsylvania Supreme Court ruled that county boards of elections are

prohibited from using signature comparison to challenge and reject absentee or mail-in ballots.90

          153.    Based on Pennsylvania voters’ allegations, the Court's decision is contrary to the

applicable provisions of Pennsylvania's Election Code.

          154.    In addition, the Pennsylvania Supreme Court ruled that county boards of elections

could prevent and exclude designated representatives of the candidates and political parties, who are

authorized by the Election Code to observe the pre-canvassing and canvassing of ballots, from

being in the room during pre-canvassing and canvassing of ballots.91



90
     In Re: November 3, 2020, General Election, 149 MM 2020 (Oct. 23, 2020).
91
     See In Re: Canvassing Observation, 30 EAP 2020 (Nov. 17, 2020).


                                                     48
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        155.    Based on Pennsylvania voters’ allegations, in predominantly Democratic counties,

such as Philadelphia, Delaware and Montgomery Counties, authorized representative of the

candidates and the Republican Party attempted to observe the actions of election officials; however,

the authorized representatives were routinely denied the access necessary to properly observe the

handling of ballot envelopes and ballots during the pre-canvassing and canvassing process.

        156.    Plaintiffs have obtained a sworn Affidavit from Gregory Stenstrom, who was

appointed by the Delaware County Republican Party to observe the election process within

Delaware County. Mr. Stenstrom attests to numerous election code violations by the Delaware

County Board of Elections. Plaintiffs have numerous other Declarations regarding similar election

code violations in other predominantly Democratic counties.92

        157.    Based on Pennsylvania voters’ allegations, absentee and mail-in ballots are required

to be canvassed in accordance with subsection (g) of Section 3146.8 - Canvassing of official absentee

and mail-in ballots.93

        158.    Based on Pennsylvania voters’ allegations, Pennsylvania's Election Code defines the

term "pre-canvass" to mean "the inspection and opening of all envelopes containing official

absentee ballots or mail-in ballots, the removal of such ballots from the envelopes and the counting,

computing and tallying of the votes reflected on the ballots. The term does not include the recording

or publishing of the votes reflected on the ballots.”94




92
   See Gregory Stenstrom Declaration, Appendix pgs. 129-151; 637-659; see Expert Opinion of
Anthony J. Couchenor, App. 42-47; see also expert opinion of Jovan Hutton Pulitizer, App. 90-118.
93
   25 Pa. Cons. Stat. §3146.8(g) (1)(i-ii) & (1.1).
94
   25 Pa. Cons. Stat. § 2602(q.1).


                                                   49
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        159.    Prior to any pre-canvassing meeting, county boards of elections are required to

provide at least forty-eight hours’ notice by publicly posting a notice of a pre-canvass meeting on its

publicly accessible Internet website.95

        160.    Each candidate and political party is entitled to have one designated and authorized

representative in the room any time absentee and mail-in ballots are being canvassed by a board of

elections.96

        161.    The candidates' watchers or other representatives are permitted to be present any

time the envelopes containing absentee and mail-in ballots are opened.97

        162.    The candidates and political parties are entitled to have watchers present any time

there is canvassing of returns.98

        163.    Based on Pennsylvania voters’ allegations, in predominantly Democratic counties,

such as Montgomery, election would weigh absentee and mail-in ballot envelopes to determine

whether secrecy envelopes were contained within the outer envelopes. Election officials would also

review and inspect the absentee and mail-in ballot envelopes to determine whether they complied

with the requirements of the Election Code.

        164.    Based on Pennsylvania voters’ allegations, this pre-canvassing of ballot envelopes is

in direct violation of Pennsylvania's Election Code.

        165.    Based on Pennsylvania voters’ allegations, under the Election Code, county boards

of elections are required, upon receipt of sealed official absentee and mail-in ballot envelopes, to




95
   25 Pa. Cons. Stat. § 3146.8(g)(1.1.).
96
   25 Pa. Cons. Stat. §3146.8(g)(2).
97
   25 Pa. Cons. Stat. §3146.8.
98
   25 Pa. Cons. Stat. §2650(a).


                                                   50
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"safely keep the ballots in sealed or locked containers until they are to be canvassed by the county

board of elections."99

        166.    County boards of elections are prohibited from pre-canvassing absentee and mail-in

ballots prior to 7:00 a.m. of Election Day.100

        167.    As such, from the time ballot envelopes are received by county boards of elections

through 7:00 a.m. on Election Day, the ballot envelopes are to be safely kept in sealed or locked

containers.101 Stated in a different way, county boards of elections are not permitted to remove

absentee and mail-in ballot envelopes from their sealed or locked containers until the ballots are pre-

canvassed at 7:00 a.m. on Election Day.

        168.    Based on Pennsylvania voters’ allegations, the Pennsylvania Supreme Court ruled

that county boards of elections were not required to enforce or follow Pennsylvania's Election Code

requirements for absentee and mail-in ballot envelopes, including the requirements related to elector

signatures, addresses, dates, and signed declarations.102

        169.    During pre-canvasing, county boards of elections are required to examine each ballot

cast to determine if the declaration envelope is properly completed and to compare the information

with the information contained in the Registered Absentee and Mail-in Voters File.103

        170.    Only then are county boards of elections authorized to open the outer envelope of

every unchallenged absentee or mail-in envelope in such a manner so as not to destroy the

declaration executed thereon.104




99
   25 Pa. Cons. Stat. §3146.8(a).
100
    25 Pa. Cons. Stat. § 3146.8(g)(1.1.)
101
    25 Pa. Cons. Stat. §3146.8(a).
102
    In Re: Canvass of Absentee and Mail-in Ballots of November 3, 2020 General Election, 31 EAP 2020 (Nov.
23, 2020).
103
    25 Pa. Cons. Stat. § 3146.8(g)(3).
104
    25 Pa. Cons. Stat. § 3146.8(g)(4)(i).


                                                    51
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        171.    Based on Pennsylvania voters’ allegations, in predominantly Democratic counties,

such as Allegheny County, election officials disregarded the requirements of the Election Code and

counted absentee and mail-in ballot ballots with defective elector signatures, addresses, dates, and

signed declarations.105 In other counties, such as Westmoreland, such ballots were not counted by

the county board of elections.

        172.    In addition to substantial evidence of the violations of Pennsylvania's Election Code,

as set forth above, Plaintiffs have produced an expert report authored by Francis X. Ryan who could

testify and identify significant and dispositive discrepancies and errors which call into questions the

results of the Presidential Election in Pennsylvania.106

        173.    Based on Pennsylvania voters’ allegations, as described above, the 2020 General

Election in Pennsylvania was fraught with numerous violations of Pennsylvania's Election Code

perpetrated by predominantly Democratic county election officials. In addition, there are countless

documented election irregularities and improprieties that prevent an accurate accounting of the

election results in the Presidential election.

        174.    Based on Pennsylvania voters’ allegations, many of the irregularities directly relate to

the county boards of elections' handing of absentee and mail-in ballots; the pre-canvassing and

canvassing of ballots; the failure to permit legally appropriate and adequate oversight and

transparency of the process; and, the failure to maintain and secure ballot integrity and security

throughout the election process.

        175.    Based on Pennsylvania voters’ allegations, as such, the 2020 General Election results

are so severely flawed that it is impossible to certify the accuracy of the purported results.




105
    In Re: Canvass of Absentee and Mail-in Ballots of November 3, 2020 General Election, 31 EAP 2020 (Nov.
23, 2020).
106
    See Francis X. Ryan Declaration, App. 660-666. For additional evidence see App. 667-834.


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        176.     Based on analysis by data analyst Matthew Braynard and Professor Steven J. Miller,

in Pennsylvania, the government data shows election officials’ absentee ballot errors of 121,297 far

exceed the margin of victory of 81,749.107

        177.     According to the Braynard-Miller analysis, the government data shows election

officials’ absentee ballot error rate of at least 1.43% which far exceeds federal law’s pre-election

certification error rate for voting systems’ hardware and software of 0.0008%.108

                                 Pennsylvania Voter Election Contest
                                          Margin +81,749
                  Type of error*                  Description                     Margin
                 1) Unlawful            Estimate of ballots requested in
                      Ballots               the name of a registered
                                         Republican by someone other               53,909
                                               than that person109
                   2) Legal             Estimate of Republican ballots             44,892
                      Votes             that the requester returned but
                       Not                    were not counted110
                     Counted

               Total Votes: 98,801       Error Rate (Compared to Total             1.43%
                                                     Vote)
                  3) Illegal                                                       14,328
                     Votes                Electors voted where they did
                    Counted                        not reside111
              4) Illegal                Out of State Residents Voting in           7,426
                 Votes                               State112
                Counted
              5) Illegal                         Double Votes113                    742
                 Votes
                Counted
           TOTAL                                                                  121,297
                                           Of total votes cast 6,924,006
        *May overlap.

107
    See Chart and Pennsylvania Declaration of Matthew Braynard, App. 1331-1340 ¶3.
108
    See Expert Report of Dennis Nathan Cain (III), App. 1433-1445.
109
    See Declaration of Steven J. Miller, App. 1325-1330.
110
    Id.
111
    See Pennsylvania Declaration of Matthew Braynard, App. 1331-1340 ¶3.
112
    See Pennsylvania Declaration of Matthew Braynard, App. 1331-1340.
113
    See Pennsylvania Declaration of Matthew Braynard, App. 1331-1340 ¶4.


                                                   53
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          2. State of Georgia voters allege election official errors and improprieties which
             exceed the Presidential vote margin.114

        178.    State of Georgia voters allege election official errors and improprieties which exceed

the Presidential vote margin.

        179.    Georgia has 16 electoral votes, with a statewide vote tally currently estimated at

2,458,121 for President Trump and 2,472,098 for former Vice President Biden, a margin of

approximately 12,670 votes.

        180.    The number of votes affected by the various constitutional violations exceeds the

margin of votes dividing the candidates.

        181.    Based on Georgia voters’ allegations, Georgia’s Secretary of State, Brad

Raffensperger, without legislative approval, unilaterally abrogated Georgia’s statute governing the

signature verification process for absentee ballots.115

        182.    O.C.G.A. § 21-2-386(a)(2) prohibits the opening of absentee ballots until after the

polls open on Election Day: In April 2020, however, the State Election Board adopted Secretary of

State Rule 183-1-14-0.9-.15, Processing Ballots Prior to Election Day.

        183.    Based on Georgia voters’ allegations, that rule purports to authorize county election

officials to begin processing absentee ballots up to three weeks before Election Day.

        184.    Based on Georgia voters’ allegations, Georgia law authorizes and requires a single

registrar or clerk—after reviewing the outer envelope—to reject an absentee ballot if the voter failed

to sign the required oath or to provide the required information, the signature appears invalid, or the




114
    For full extent of inappropriate activities, see Timeline of Electoral Policy Activities, Issues, and
Litigation Pennsylvania, Michigan, Wisconsin, Georgia, Arizona, and Nevada August 2003 to
November 2020, Appendix 1-20.
115
    See Expert Declaration of Harry Haury, Appendix 69-89.


                                                    54
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required information does not conform with the information on file, or if the voter is otherwise

found ineligible to vote.116

        185.      Georgia law provides absentee voters the chance to “cure a failure to sign the oath,

an invalid signature, or missing information” on a ballot’s outer envelope by the deadline for

verifying provisional ballots (i.e., three days after the election).117 To facilitate cures, Georgia law

requires the relevant election official to notify the voter in writing: “The board of registrars or

absentee ballot clerk shall promptly notify the elector of such rejection, a copy of which notification

shall be retained in the files of the board of registrars or absentee ballot clerk for at least two

years.”118

        186.      Based on Georgia voters’ allegations, on March 6, 2020, in Democratic Party of Georgia

v. Raffensperger, No. 1:19-cv-5028-WMR (N.D. Ga.), Georgia’s Secretary of State entered a

Compromise Settlement Agreement and Release with the Democratic Party of Georgia (the

“Settlement”) to materially change the statutory requirements for reviewing signatures on absentee

ballot envelopes to confirm the voter’s identity by making it far more difficult to challenge defective

signatures119 beyond the express mandatory procedures.120

        187.      Based on Georgia voters’ allegations, among other things, before a ballot could be

rejected, the Settlement required a registrar who found a defective signature to now seek a review by

two other registrars, and only if a majority of the registrars agreed that the signature was defective

could the ballot be rejected but not before all three registrars’ names were written on the ballot

envelope along with the reason for the rejection. These cumbersome procedures are in direct



116
    O.C.G.A. § 21-2-386(a)(1)(B)-(C).
117
    O.C.G.A. §§ 21-2-386(a)(1)(C), 21-2-419(c)(2).
118
    O.C.G.A. § 21-2-386(a)(1)(B).
119
    See Expert Report of A.J. Jaghori, Appendix 39-41. See Settlement Agreement, Appendix 1222-
1229.
120
    O.C.G.A. § 21-2-386(a)(1)(B).


                                                     55
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conflict with Georgia’s statutory requirements, as is the Settlement’s requirement that notice be

provided by telephone (i.e., not in writing) if a telephone number is available. Finally, the Settlement

purports to require election officials to consider issuing guidance and training materials drafted by an

expert retained by the Democratic Party of Georgia.

           188.    Based on Georgia voters’ allegations, Georgia’s legislature has not ratified these

material changes to statutory law mandated by the Compromise Settlement Agreement and Release,

including altered signature verification requirements and early opening of ballots. The relevant

legislation that was violated by Compromise Settlement Agreement and Release did not include a

severability clause.

           189.    Based on Georgia voters’ allegations, this unconstitutional change in Georgia law

materially benefitted former Vice President Biden. According to the Georgia Secretary of State’s

office, former Vice President Biden had almost double the number of absentee votes (65.32%) as

President Trump (34.68%).

           190.    Based on Georgia voters’ allegations, specifically, there were 1,305,659 absentee

mail-in ballots submitted in Georgia in 2020. There were 4,786 absentee ballots rejected in 2020.

This is a rejection rate of .37%. In contrast, in 2016, the 2016 rejection rate was 6.42% with 13,677

absentee mail-in ballots being rejected out of 213,033 submitted, which more than seventeen times

greater than in 2020.121

           191.    Based on Georgia voters’ allegations, if the rejection rate of mailed-in absentee

ballots remained the same in 2020 as it was in 2016, there would be 83,517 less tabulated ballots in

2020. The statewide split of absentee ballots was 34.68% for Trump and 65.2% for Biden. Rejecting

at the higher 2016 rate with the 2020 split between Trump and Biden would decrease Trump votes




121
      See Charles J. Cicchetti Declaration at ¶ 24, Appendix pgs. 1315-1324.


                                                     56
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by 28,965 and Biden votes by 54,552, which would be a net gain for Trump of 25,587 votes. This

would be more than needed to overcome the Biden advantage of 12,670 votes, and Trump would

win by 12,917 votes. Regardless of the number of ballots affected, however, the non-legislative

changes to the election rules violated Article II.

        192.    Further, based on Georgia voters’ allegations, the Zuckerberg-funded absentee drop

boxes caused a disparate impact in Georgia.122

        193.    Georgia is comprised of 159 counties. In 2016, Hillary Clinton garnered 1,877,963

votes in the state of Georgia.123 Clinton won four counties in major population centers, Fulton

(297,051), Cobb (160,121), Gwinnett (166,153), and Dekalb Counties (251,370).124 These four

counties represented 874,695 votes for Hillary Clinton.125

        194.    Georgia has 300 total drop boxes for electors to submit absentee ballots.126

        195.    In 2020, Georgia counties utilized CTCL funding to install additional drop boxes in

areas that would make it easier for voters to cast their absentee ballot. The four counties won by the

Clinton campaign contain a plurality of the drop boxes.

        196.    Fulton County was home to 39 drop boxes127, Cobb County provided 16 drop

boxes,128 23 drop boxes in Gwinnett County129, and Dekalb County has 34 boxes.130




122
    See App. 1168-1234; 1477-1491.
123
    Georgia Election Results 2016 – The New York Times (nytimes.com)
124
    Georgia Election Results 2016 – The New York Times (nytimes.com)
125
    Georgia Election Results 2016 – The New York Times (nytimes.com)
126
    https://georgiapeanutgallery.org/2020/09/28/drop-box-locations-for-november-3-2020-
election/
127
    Fulton County nearly doubles number of ballot drop off boxes (fox5atlanta.com)
128
    https://www.cobbcounty.org/elections/news/6-additional-absentee-ballot-drop-boxes-available-
september-23rd
129
   https://www.gwinnettcounty.com/static/departments/elections/2020_Election/pdf/BallotDrop
BoxMap_2020.pdf
130
   https://www.dekalbcountyga.gov/sites/default/files/users/user304/DeKalb%20Dropbox%20L
ocations%20103120%20V7.pdf


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        197.    These four localities account for 112 drop boxes, spread out over 1,587 square

miles.131 Meaning, voters in these four Clinton strongholds have one drop box for every 14 square

miles. Meanwhile, in the remaining 155 counties, spread out over 55,926 square miles, a republican

voter will find one drop box for every 294 square miles.

        198.    Based on Georgia voters’ allegations, the effect of this unconstitutional change in

Georgia election law, which made it more likely that ballots without matching signatures would be

counted, had a material impact on the outcome of the election.132

        199.    Finally, in Georgia, analysis of government data by data analyst Matthew Braynard

and Professor Qianying (Jennie) Zhang shows election officials’ absentee ballot errors of 204,143 far

exceed the margin of victory of 12,670.133

        200.    And, the Braynard-Zhang analysis of the government data shows election officials’

absentee ballot error rate of at least 1.28% which far exceeds federal law’s pre-election certification

error rate for voting systems’ hardware and software of 0.0008%.134


                                   Georgia Voter Election Contest
                                          Margin +12,670

                Type of error*                      Description                   Margin

               1) Unlawful                  Estimate of the minimum               20,431
                   Ballots                 number of absentee ballots
                                            requested which were not
                                             requested by the person
                                        identified in the state’s database135


                                                                                  43,688

131
    The areas for the respective counties are: Fulton 534 square miles; Cobb 345 square miles;
Gwinnett 437 square miles; and DeKalb 271 square miles.
132
    See Appendix 1235-1311.
133
    See Chart and Georgia Expert Report of Matthew Braynard, Appendix pgs. 1350-1374.
134
    See Expert Report of Dennis Nathan Cain (III), Appendix 1433-1445.
135
    See Georgia Expert Report of Qianying (Jennie) Zhang, Appendix pgs. 1341-1349 ¶ 1.


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                 2) Legal                   Estimate of the minimum
                    Votes                number of absentee ballots that
                     Not                 the requester returned but were
                   Counted                       not counted136


           Category 1 & 2                 Error Rate (Compared to Total             1.28%
           Total Votes: 64,119                        Vote)

               3) Illegal                 Electors voted where they did            138,221
                  Votes                            not reside137
                  Counted


                 4) Illegal               Out of state residents voting in         20,312
                    Votes                           Georgia138
                   Counted


                 5) Illegal                       Double Votes139                    395
                    Votes
                   Counted

                    TOTAL                                                          204,143
                                           of total votes cast 4,998,482
                *May overlap.


          3. State of Michigan voters allege election official errors and improprieties which
             exceed the Presidential vote margin. 140

        201.    State of Michigan voters allege election official errors and improprieties which

exceed the Presidential vote margin.




136
    See Georgia Expert Report of Qianying (Jennie) Zhang, Appendix pgs. 1341-1349.
137
    See Georgia Expert Report of Matthew Braynard, Appendix pgs. 1350-1374. ¶3.
138
    See Georgia Expert Report of Matthew Braynard, Appendix pgs. 1350-1374.
139
    See Georgia Expert Report of Matthew Braynard, Appendix pgs. 1350-1374. ¶4.
140
    For full extent of inappropriate activities See Timeline of Electoral Policy Activities, Issues, and
Litigation Pennsylvania, Michigan, Wisconsin, Georgia, Arizona, and Nevada August 2003 to
November 2020, Appendix 1-20.


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         202.   Michigan has 16 electoral votes, with a statewide vote tally currently estimated at

2,650,695 for President Trump and 2,796,702 for former Vice President Biden, a margin of 146,007

votes. In Wayne County, Mr. Biden’s margin (322,925 votes) significantly exceeds his statewide lead.

         203.   Based on Michigan voters’ allegations, the number of votes affected by the various

constitutional violations exceeds the margin of votes dividing the candidates.

         204.   Michigan law generally allows the public the right to observe the counting of ballots.

See MCL 168.765a(12)(“At all times, at least 1 election inspector from each major political party

must be present at the absent voter counting place and the policies and procedures adopted by the

secretary of state regarding the counting of absent voter ballots must be followed.”).

         205.   The Michigan Constitution provides all lawful voters with “[t]he right to have the

results of statewide elections audited, in such a manner as prescribed by law, to ensure the accuracy

and integrity of elections.”141

         206.   Indeed, “[a]ll rights set forth in this subsection shall be self-executing. This

subsection shall be liberally construed in favor of voters’ rights in order to effectuate its

purposes.”142

         207.   The public’s right to observe applies to counting both in-person and absentee

ballots.143




141
    Mich. Const. 1963, art 2, § 4(1)(h).
142
    Id. (emphasis added).
143
    Regrettably, Defendants and their agents have exclusive possession of the ballots, ballot boxes,
and other indicia of voting irregularities so a meaningful audit cannot timely occur. Normally, “[a]
person requesting access to voted ballots is entitled to a response from the public body within 5 to
10 business days; however, the public body in possession of the ballots may not provide access for
inspection or copying until 30 days after certification of the election by the relevant board of
canvassers.” Op.Atty.Gen.2010, No. 7247, 2010 WL 2710362.


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        208.      Based on Michigan voters’ allegations, Michigan’s election officials failed to grant

meaningful observation opportunities to the public over the absentee ballots.144

        209.      Wayne County is the most populous county in Michigan.

        210.      Detroit is the largest city in Wayne County.

        211.      Based on Michigan voters’ allegations, the City of Detroit’s observation procedures,

for example, failed to ensure transparency and integrity as it did not allow the public to see election

officials during key points of absentee ballot processing in the AVCBs at TCF Arena (f/k/a Cobo

Hall). Id.

        212.      Based on Michigan voters’ allegations, these irregularities were repeated elsewhere in

Wayne County, including in Canton Township, and throughout the State.145

        213.      Based on Michigan voters’ allegations, for instance, when absentee ballots arrived,

the ballots should have been in an envelope, signed, sealed (and delivered) by the actual voter. Often

it was not.




144
    See Michigan Petitioners Appendix, Appendix 835; Affidavit of Andrew John Miller, Appendix
1313-1314 at ¶12. Affidavit of Angelic Johnson, Appendix 860-861 at ¶12; Affidavit of Zachary C.
Larsen, Appendix 836-845 at ¶¶37-55; Affidavit of G Kline Preston IV, Appendix 886-889 at ¶8;
Affidavit of Articia Boomer, Appendix 897-900 at ¶21; Affidavit of Phillip O’Halloran, Appendix 901-
910 at ¶¶18-19; Affidavit of Robert Cushman, Appendix 928-930 at ¶3; Affidavit of Jennifer Seidl,
Appendix 931-938 at ¶6; Affidavit of Andrew Sitto, Appendix 890-893 at ¶¶23; Affidavit of Kristina
Karamo, Appendix 894-896 at ¶5; Affidavit of Jennifer Seidl, Appendix 931-938 at ¶35, 932 at ¶42;
Affidavit of Cassandra Brown Appendix 939-944 at ¶33; Affidavit of Adam di Angeli, Appendix
951-967 at ¶30; Affidavit of Kayla Toma Appendix 977-983 at ¶¶14-15, 978 at ¶21, 979 at ¶¶31-32;
Affidavit of Matthew Mikolajczak, Appendix 985-991; Affidavit of Braden Giacobazzi, Appendix
995-1000 at ¶¶3, 5, 996 at ¶8; Affidavit of Kristy Klamer Appendix 1006-1009 at ¶¶4-5, 1007 at ¶¶6-
9.
145
    See, generally, Affidavits of Cassandra Brown Appendix 939-944 at ¶34; Lucille Ann Huizinga,
Appendix 1016-1020 at ¶31; Laurie Ann Knott, Appendix 1010-1015 at ¶¶34-35; Marilyn Jean
Nowak Appendix 1021-1023 at ¶17; Marlene K. Hager, Appendix 1024-1027 at ¶¶19-23; and Sandra
Sue Workman Appendix 1028-1032 at ¶33 (allegedly sending ballots from Grand Rapids to TCF
Center to be processed and counted).


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        214.    Based on Michigan voters’ allegations, ballots were taken from their envelopes and

inspected to determine whether any deficiencies would obstruct the ballot from being fed through a

tabulation machine. If any deficiencies existed (or were created by tampering), the ballot was hand

duplicated.

        215.    Based on Michigan voters’ allegations, Democrat officials and election workers

repeatedly scanned ballots in high-speed scanners, often counting the same ballot more than once.146

        216.    Based on Michigan voters’ allegations, the evidence will also show that these hand

duplication efforts ignored the legislative mandate to have one person from each major party sign

every duplicated vote (i.e., one Republican and one Democrat had to sign each “duplicated” ballot

and record it in the official poll book).

        217.    Based on Michigan voters’ allegations, several poll watchers, inspectors, and other

whistleblowers witnessed the surge of unlawful practices described above.147

        218.    Based on Michigan voters’ allegations, these unlawful practices provided cover for

careless or unscrupulous officials or workers to mark choices for any unfilled elections or questions

on the ballot, potentially and substantially affecting down ballot races where there are often

significant undervotes, or causing the ballots to be discarded due to overvotes.

                a. Michigan Voters Allege Election Malfeasance at the TCF Center
                   Shows Widespread Problems.148

        219.    Based on Michigan voters’ allegations, there were many issues of mistake, fraud, and

other malfeasance at the TCF Center during the Election and during the counting process




146
    Affidavit of Articia Boomer, Appendix 897-899 at ¶¶10-11, 13; Affidavit of William Carzon,
Appendix 973-976 at ¶8; Affidavit of Matthew Mikolajczak Appendix 985-991; Affidavit of Melissa
Carone, Appendix 992-994 at ¶¶3-4.
147
    Affidavit of Melissa Carone, Appendix 992-994 at ¶9.
148
    See Expert Declaration of Dennis Nathan Cain (II), Appendix 60-68.


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thereafter.149

        220.     Based on Michigan voters’ allegations, on election day, election officials at the TCF

Center systematically processed and counted ballots from voters whose names failed to appear in

either the Qualified Voter File (“QVF”) or in the supplemental sheets. When a voter’s name could

not be found, the election worker assigned the ballot to a random name already in the QVF to a

person who had not voted.150

        221.     Based on Michigan voters’ allegations, on election day, election officials at the TCF

Center instructed election workers to not verify signatures on absentee ballots, to backdate absentee

ballots, and to process such ballots regardless of their validity.151

        222.     Based on Michigan voters’ allegations, after the statutory deadlines passed and local

officials had announced the last absentee ballots had been received, another batch of unsecured and

unsealed ballots, without envelopes, arrived in unsecure trays at the TCF Center.

        223.     Based on Michigan voters’ allegations, there were tens of thousands of these late-

arriving absentee ballots, and apparently every ballot was counted and attributed only to Democratic

candidates.152

        224.     Based on Michigan voters’ allegations, election officials at the TCF Center instructed

election workers to process ballots that appeared after the election deadline and to inaccurately

report or backdate those ballots as having been received before the November 3, 2020, deadline.153

        225.     Based on Michigan voters’ allegations, election officials at the TCF Center




149
    See Affidavit of Senator Ruth Johnson, Appendix at 849-850.
150
    See Affidavit of Zachary C. Larsen, Appendix 836-845 at ¶33; Affidavit of Robert Cushman,
Appendix 928-930 at ¶7.
151
    See Affidavit of Jessy Jacobs, Appendix 846-848 at ¶15.
152
    See Affidavit of John McGrath Appendix 968-972 at ¶8.
153
    See Affidavit of Jessy Jacobs, Appendix 846-848 at ¶17.


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systematically used inaccurate information to process ballots.154

        226.     Based on Michigan voters’ allegations, many times, the election workers overrode the

software by inserting new names into the QVF after the election deadline or recording these new

voters as having a birthdate of “1/1/1900,” which is the “default” birthday.155

        227.     Based on Michigan voters’ allegations, each day before the election, City of Detroit

election workers and employees coached voters to vote for Joe Biden and the Democratic Party

candidates.156

        228.     Based on Michigan voters’ allegations, these workers, employees, and so-called

consultants encouraged voters to vote a straight Democratic Party ticket. These election workers

went over to the voting booths with voters to watch them vote and to coach them as to which

candidates they should vote for.157

        229.     Based on Michigan voters’ allegations, before and after the statutory deadline,

unsecured ballots arrived at the TCF Center loading garage, loose on the floor not in sealed ballot

boxes—with no chain of custody and often with no secrecy envelopes.158

        230.     Based on Michigan voters’ allegations, election officials and workers at the TCF

Center duplicated ballots by hand without allowing poll challengers to check if the duplication was

accurate.159




154
    Affidavit of Cassandra Brown, Appendix 939-944 at ¶33.
155
    See Affidavit of John McGrath Appendix 968-972 at ¶8; Affidavit of Kristina Karamo Appendix
894-896 at ¶6; Affidavit of Robert Cushman, Appendix 928-930 at ¶¶10-12, 929 at ¶16; Affidavit of
Jennifer Seidl, Appendix 931-938 at ¶¶52-53; Affidavit of Braden Giacobazzi Appendix 995-1000 at
¶10; Affidavit of Kristy Klamer Appendix 1006-1009 at ¶13.
156
    See Affidavit of Jessy Jacobs, Appendix 846-848 at ¶8.
157
    See Affidavit of Jessy Jacobs, Appendix 846-848 at ¶8.
158
    Affidavit of Articia Boomer, Appendix 897-900 at ¶8, 898 at ¶¶9, 18.
159
    See Affidavit Andrew Sitto, Appendix 890-893 at ¶9; Affidavit of Phillip O’Halloran Appendix
901-910 at ¶22; Affidavit of Cynthia O’Halloran Appendix 911-914; Affidavit of Eugene Dixon,
Appendix 947-948 at ¶5; Affidavit of Jason Humes Appendix 918-922.


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       231.    Based on Michigan voters’ allegations, election officials repeatedly obstructed poll

challengers from observing.160

       232.    Based on Michigan voters’ allegations, election officials violated the plain language of

the law MCL 168.765a by permitting thousands of ballots to be filled out by hand and duplicated on

site without oversight from bipartisan poll challengers.

       233.    Based on Michigan voters’ allegations, after poll challengers started uncovering the

statutory violations at the TCF Center, election officials and workers locked credentialed challengers

out of the counting room so they could not observe the process, during which time tens of

thousands of ballots, if not more, were improperly processed.161

       b. Michigan voters Allege Suspicious Funding and Training of Election Workers

       234.    Based on Michigan voters’ allegations, in September, the Detroit City council

approved a $1 million contract for the staffing firm P.I.E. Management, LLC to hire up to 2,000

workers to work the polls and to staff the ballot counting machines at the TCF Center. P.I.E.

Management, LLC is owned and controlled by a Democratic Party operative.

       235.    Based on Michigan voters’ allegations, a week after approval, P.I.E. Management,

LLC began advertising for workers, stating, “Candidates must be 16 years or older. Candidates are

required to attend a 3-hour training session before the General Election. The position offers two

shifts and pay-rates: 1) From 7 am to 7 pm at $600.00; and 2) From 10 pm to 6 am at $650.”




160
    See Affidavit of Zachary C. Larsen, Appendix 836-845 at ¶¶37-55; Affidavit of Janice Hermann,
Appendix 915-917 at ¶5; Affidavit of Jennifer Seidl, Appendix 931-938 at ¶29, 932 at ¶42; Affidavit
of Cassandra Brown, Appendix 939-944 at ¶33.
161
    See Affidavit of Zachary C. Larsen, Appendix 836-845 at ¶¶37-55; Affidavit of Janice Hermann,
Appendix 915-917 at ¶5; Affidavit of Jennifer Seidl, Appendix 931-938 at ¶29, 932 at ¶32, 933 at
¶42; Affidavit of Cassandra Brown, Appendix 939-944 at ¶¶33; Affidavit of Anna England,
Appendix 949-950 at ¶¶5,7; Affidavit of Matthew Mikolajczak Appendix 985-991; Affidavit of
Braden Giacobazzi, Appendix 995-1000 at ¶6.


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Consequently, these temporary workers were earning at least $50 per hour—far exceeding prevailing

rates at most rural communities.

        236.    Based on Michigan voters’ allegations, the evidence exists to show that this money

and much more came from a single private source: Mark Zuckerberg and his spouse, through the

charity called Center for Tech and Civic Life (CTCL), which paid over $400 million nationwide to

Democrat-favoring election officials and municipalities.162

        237.    Based on Michigan voters’ allegations, the improper private funding to Michigan

exceeded $9.8 million.163

                c.      Michigan Voter Allege Forging Ballots on the QVF

        238.    Based on Michigan voters’ allegations, whistleblowers observed election officials

processing ballots at the TCF Center without confirming that the voter was eligible to vote.164

        239.    Based on Michigan voters’ allegations, whistleblowers observed election officials

assigning ballots to different voters, causing a ballot being counted for a non-eligible voter by

assigning it to a voter in the QVF who had not yet voted.165

                d.      Michigan Voters Allege Changing Dates on Ballots

        240.    All lawful absentee ballots were supposed to be in the QVF system by 9:00 p.m. on

November 3, 2020.

        241.    This deadline had to bet met to ensure an accurate final list of absentee voters who

returned their ballots before the statutory deadline of 8:00 p.m. on November 3, 2020.


162
    See, generally, Expert Report of James Carlson, Appendix pgs. 21-30.
163
    See Expert Report of James Carlson, Appendix pgs. 1079-1111.
164
    See Affidavit of Zachary C. Larsen, Appendix 836-845 at ¶12.
165
    See Affidavit of John McGrath Appendix 968-972 at ¶8; Affidavit of Kristina Karamo Appendix
894-896 at ¶6; Affidavit of Robert Cushman, Appendix 928-930 at ¶¶10-12, 929 at ¶16; Affidavit of
Jennifer Seidl, Appendix 931-938 at ¶¶52-53; Affidavit of Braden Giacobazzi Appendix 995-1000 at
¶10; Affidavit of Kristy Klamer Appendix 1006-1009 at ¶13.


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        242.    To have enough time to process the absentee ballots, election officials told polling

locations to collect the absentee ballots from the drop-boxes every hour on November 3, 2020.

        243.    Based on Michigan voters’ allegations, on November 4, 2020, a City of Detroit

election whistleblower at the TCF Center was told to improperly pre-date the receive date for

absentee ballots that were not in the QVF as if they had been received on or before November 3,

2020. The Whistleblower swore she was told to alter the information in the QVF to inaccurately

show that the absentee ballots had been timely received. She estimates that this was done to

thousands of ballots.166

                e.         Michigan Voters allege Double Voting.

        244.    Based on Michigan voters’ allegations, an election worker in the City of Detroit

observed several people who came to the polling place to vote in-person, but they had already

applied for an absentee ballot.167

        245.    Based on Michigan voters’ allegations, election officials allowed these people to vote

in-person, and they did not require them to return the mailed absentee ballot or sign an affidavit that

the voter lost or “spoiled” the mailed absentee ballot as required by law and policy.

        246.    Based on Michigan voters’ allegations, this illicit process allowed people to vote in

person and to send in an absentee ballot, thereby voting twice. This “double voting” was made

possible by the unlawful ways in which election officials were counting and inputting ballots at the

TCF Center from across the City’s several polling places.

        247.    Based on Michigan voters’ allegations, the Secretary of State’s absentee ballot scheme

exacerbated this “double voting,” as set forth further in this Petition.168


166
    See Affidavit of Jessy Jacobs, Appendix 846-848 at ¶17.
167
    See Affidavit of Jessy Jacobs, Appendix 846-848 at ¶10; Affidavit of Anna England, Appendix
949-950 at ¶45.
168
    See, also, Expert Report of Matthew Braynard, Appendix 1112-1122 at ¶6.


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                f.      Michigan Voters Allege Problems With First Wave of New
                        Ballots at TCF Center.

        248.    Based on Michigan voters’ allegations, early in the morning of November 4, 2020,

tens of thousands of ballots were suddenly brought into the counting room at the TCF Center

through the back door.169

        249.    Based on Michigan voters’ allegations, these new ballots were brought to the TCF

Center by vehicles with out-of-state license plates.170

        250.    Based on Michigan voters’ allegations, whistleblowers claim that all of these new

ballots were cast for Joe Biden.171

        251.    Based on Michigan voters’ allegations, these ballots still do not share or have the

markings establishing the proper chain of custody from valid precincts and clerks and are among the

approximately 70% of unmatched AVCB errors identified by Palmer and Hartmann.

                g.      Michigan Voters Allege Problems With Second Wave of New
                        Ballots at TCF Center.

        252.    Based on Michigan voters’ allegations, the ballot counters needed to check every

ballot to confirm that the name on the ballot matched the name on the electronic poll list—the list

of all persons who had registered to vote on or before November 1, 2020 (the QVF).

        253.    Based on Michigan voters’ allegations, the ballot counters were also provided with

supplemental sheets which had the names of all persons who had registered to vote on either

November 2, 2020 or November 3, 2020.




169
    See Affidavit of John McGrath Appendix 968-972 at ¶4 (around 3:00 a.m.); Affidavit of Articia
Boomer, Appendix 897-900 at ¶18 (around 4:00 a.m.); Affidavit of William Carzon, Appendix 973-
976 at ¶11 (around 4:00 a.m.); Affidavit Andrew Sitto, Appendix 890-893 at ¶16 (alleges about 4:30
a.m.).
170
    See Affidavit of Andrew Sitto, Appendix 890-893 at ¶15.
171
    See Affidavit of Andrew Sitto, Appendix 890-893 at ¶¶17-18.


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        254.    Based on Michigan voters’ allegations, the validation process for a ballot requires the

name on the ballot match with a registered voter on either the QVF or the supplemental sheets.

        255.    Based on Michigan voters’ allegations, at around 9:00 p.m. on Wednesday,

November 4, 2020, several more boxes of ballots were brought to the TCF Center. This was a

second wave of new ballots.

        256.    Based on Michigan voters’ allegations, election officials instructed the ballot counters

to use the “default” date of birth of January 1, 1900, on all of these newly appearing ballots.172

        257.    Based on Michigan voters’ allegations, mone of the names on these new ballots

corresponded with any registered voter on the QVF or the supplemental sheets.173

        258.    Based on Michigan voters’ allegations, despite election rules requiring all absentee

ballots to be inputted into the QVF system before 9:00 p.m. the day before, election workers

inputted these new ballots into the QVF, manually adding each voter to the list after the deadline.

        259.    Based on Michigan voters’ allegations, almost all of these new ballots were entered

into the QVF using the “default” date of birth of January 1, 1900.174

        260.    Based on Michigan voters’ allegations, these newly received ballots were either

fabricated or apparently cast by persons who were not registered to vote before the polls closed at

8:00 p.m. on election day.




172
    See Affidavit of John McGrath Appendix 968-972 at ¶8; Affidavit of Kristina Karamo Appendix
894-896 at ¶6; Affidavit of Robert Cushman, Appendix 928-930 at ¶¶10-12, 929 at ¶16; Affidavit of
Jennifer Seidl, Appendix 931-938 at ¶¶52-53; Affidavit of Braden Giacobazzi Appendix 995-1000 at
¶10; Affidavit of Kristy Klamer Appendix 1006-1009 at ¶13.
173
    See Affidavit of John McGrath, Appendix 968-972 at ¶¶7, 14, 969 at ¶¶16-18.
174
    See Affidavit of John McGrath, Appendix 968-972 at ¶8; Affidavit of Kristina Karamo, Appendix
894-896 at ¶6; Affidavit of Robert Cushman, Appendix 928-930 at ¶¶10-12, 929 at ¶16; Affidavit of
Jennifer Seidl, Appendix 931-938 at ¶¶52-53; Affidavit of Braden Giacobazzi, Appendix 995-1000 at
¶10; Affidavit of Kristy Klamer, Appendix 1006-1009 at ¶13.


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        261.    Based on Michigan voters’ allegations, these ballots still do not share or have the

markings establishing the proper chain of custody from valid precincts and clerks and are among the

approximately 70% of unmatched AVCB errors identified by Palmer and Hartmann.175

        262.    Based on Michigan voters’ allegations, this means there were more votes tabulated

than there were ballots in over 71% of the 134 AVCBs in Detroit. That equates to over 95 AVCB

being significantly “off.” Id.

        263.    Based on Michigan voters’ allegations, according to public testimony before the state

canvassers on November 23, City of Detroit Election Consultant Daniel Baxter admitted in some

instances the imbalances exceeded 600 votes per AVCB. He did not reveal the total disparity.

                h.       Michigan Voters Allege a Concealment of the Malfeasance in
                         Violation of Michigan law.

        264.    Based on Michigan voters’ allegations, many election challengers were denied access

to observe the counting process by election officials at the TCF Center.176

        265.    Based on Michigan voters’ allegations, after denying access to the counting rooms,

election officials at the TCF Center used large pieces of cardboard to block the windows to the

counting room, thereby preventing anyone from watching the ballot counting process.177


175
    See generally Affidavits of Monica Palmer and William Hartman, Appendix 851-859 at ¶6 and 852
at ¶14.
176
    See Affidavit of Angelic Johnson, Appendix 860-861 at ¶12; Affidavit of Zachary C. Larsen,
Appendix 836-845 at ¶¶37-55; Affidavit of G Kline Preston IV, Appendix 886-889 at ¶8; Affidavit
of Articia Boomer, Appendix 897-900 at ¶21; Affidavit of Phillip O’Halloran, Appendix 901-910 at
¶¶18-19; Affidavit of Robert Cushman, Appendix 928-930 at ¶3; Affidavit of Jennifer Seidl,
Appendix 931-938 at ¶6; Affidavit of Andrew Sitto, Appendix 890-893 at ¶23; Affidavit of Kristina
Karamo, Appendix 894-896 at ¶5; Affidavit of Jennifer Seidl, Appendix 931-938 at ¶35, 932 at ¶42;
Affidavit of Cassandra Brown Appendix 939-944 at ¶33; Affidavit of Adam di Angeli Appendix 951-
967 at ¶30; Affidavit of Kayla Toma Appendix 977-983 at ¶¶14-15, 979 at ¶21, 980 at ¶¶31-32;
Affidavit of Matthew Mikolajczak Appendix 985-991; Affidavit of Braden Giacobazzi Appendix
995-1000 at ¶¶3, 5, 996 at ¶8; Affidavit of Kristy Klamer Appendix 1006-1009 at ¶¶4-5, 1007 at ¶¶6-
9.
177
    See Affidavit of Zachary C. Larsen, Appendix 836-845 at ¶52; Affidavit of John McGrath
Appendix 968-972 at ¶10; Affidavit of Andrew Sitto, Appendix 890-893 at ¶22.


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          266.   Based on Michigan voters’ allegations, election officials have continued to conceal

their efforts by refusing meaningful bipartisan access to inspect the ballots. Even if Republicans

were involved in oversight roles by statute (such as with the Wayne County Canvassing Board), the

Republican members have been harassed, threatened, and doxed (including publicly revealing where

their children go to school) to pressure them to capitulate and violate their statutory duties. This

conduct is beyond the pale and shocking to the conscience.178

                 i.     Michigan voters allege unsecured QVF Access further Violating
                        MCL 168.765a, et seq.

          267.   Based on Michigan voters’ allegations, whenever an absentee voter application or in-

person absentee voter registration was finished, election workers at the TCF Center were instructed

to input the voter’s name, address, and date of birth into the QVF system.

          268.   Based on Michigan voters’ allegations, the QVF system can be accessed and edited

by any election processor with proper credentials in the State of Michigan at any time and from any

location with Internet access.

          269.   Based on Michigan voters’ allegations, this access permits anyone with the proper

credentials to edit when ballots were sent, received, and processed from any location with Internet

access.

          270.   Based on Michigan voters’ allegations, many of the counting computers within the

counting room had icons that revealed that they were connected to the Internet.




178
  See Affidavit of William Hartman; Appendix 851-856 at ¶8; Affidavit of Monica Palmer,
Appendix 857-859 at ¶¶18-22, and 24; Affidavit of Dr. Phillip O’Halloran, Appendix 901-910 at
¶24-25; Affidavit of Jennifer Seidl, Appendix 931-938 at ¶23, 932 at ¶¶27, 30-31, 933 at ¶¶36-37;
Affidavit of Eugene Dixon, Appendix 947-48 at ¶9; Affidavit of Matthew Mikolajczak, Appendix
985-991; Affidavit of Mellissa Carone Appendix 992-994 at ¶12; Affidavit of Braden Giacobazzi,
Appendix 995-1000 at ¶3, 996 at ¶7, 997 at 12, 998 at ¶¶12-14; Affidavit of Kaya Toma Appendix
977-983 at ¶15; Affidavit of Kristy Klamer Appendix 1009-1009 at ¶¶4-5, 1010 at ¶¶6-9.


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       271.     Based on Michigan voters’ allegations, Secretary of State Benson executed a contract

to give a private partisan group, Rock the Vote, unfettered real-time access to Michigan’s QVF.179

       272.     Based on Michigan voters’ allegations, Benson sold or gave Michigan citizens’ private

voter information to private groups in furtherance of her own partisan goals.

       273.     Based on Michigan voters’ allegations, Benson and the State repeatedly concealed

this unlawful contract and have refused to tender a copy despite several lawful requests for the

government contract under FOIA.

       274.     Based on Michigan voters’ allegations, improper access to the QVF was one of the

chief categories of serious concern identified by the Michigan Auditor General’s Report.180

       275.     Based on Michigan voters’ allegations, a poll challenger witnessed tens of thousands

of ballots, and possibly more, being delivered to the TCF Center that were not in any approved,

sealed, or tamper-proof container.

       276.     Based on Michigan voters’ allegations, large quantities of ballots were delivered to

the TCF Center in what appeared to be mail bins with open tops.181 See the photo of the TCF

Center below:




179
    See Rock the Vote Agreement, Appendix 1152-1167.
180
    See Appendix pgs. 1039-1078 at material finding #2
181
    See Affidavit of Daniel Gustafson, Appendix 945-946 at ¶¶4-6.


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          277.    Based on Michigan voters’ allegations, these ballot bins and containers did not have

lids, were unsealed, and could not have a metal seal.182

          278.    Based on Michigan voters’ allegations, some ballots were found unsecured on the

public sidewalk outside the Department of Elections in the City of Detroit, reinforcing the claim

that boxes of ballots arrived at the TCF Center unsealed, with no chain of custody, and with no

official markings. A photograph of ballots found on the sidewalk outside the Department of

Elections appears below:




          279.    Based on Michigan voters’ allegations, the City of Detroit held a drive-in ballot drop

off where individuals would drive up and drop their ballots into an unsecured tray. No verification




182
      See Affidavit of Rhonda Webber, Appendix 877-879 at ¶3.


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was done. This was not a secured drop-box with video surveillance. To encourage this practice, free

food and beverages were provided to those who dropped off their ballots using this method.183

                j.      Michigan Voters Allege a Breaking of the Seal of Secrecy
                        Undermines Constitutional Liberties under Michigan
                        Constitution Art 2, § 4(1)(a).

        280.    Based on Michigan voters’ allegations, many times, election officials at the TCF

Center broke the seal of secrecy for ballots to check which candidates the individual voted for on his

or her ballot, thereby violating the voter’s expectation of privacy.184

        281.    Based on Michigan voters’ allegations, voters in Michigan have a constitutional right

to open elections, and the Michigan Legislature provided them the right to vote in secret. The

election officials’ conduct, together with others, violates both of these hallmark principles.185

        282.    Based on Michigan voters’ allegations, in Michigan, it is well-settled that the election

process is supposed to be transparent and the voter’s ballot secret, not the other way around.

        283.    Based on Michigan voters’ allegations, the election officials’ absentee ballot scheme

has improperly revealed voters’ preferences exposing Petitioners’ and similarly-situated voters to

dilution or spoliation while simultaneously obfuscating the inner workings of the election process.

        284.    Based on Michigan voters’ allegations, now the Michigan election officials seek to

perform an “audit” on themselves.

        k.      Michigan Voters Allege Statewide Irregularities Over Absentee Ballots
                Reveal Widespread Mistake or Fraud.

        285.    When a person requested an absentee ballot either by mail or in-person, that person

needed to sign the absentee voter application.



183
    See Affidavit of Cynthia Cassell Appendix 862-876 at ¶3 and 863 ¶¶9-10.
184
    See Affidavit of Zachary C. Larsen; Appendix 836-845 at ¶16-18, 20.
185
    See Affidavit of Jennifer Seidl, Appendix 931-938 at ¶18.


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        286.    When the voter returned their absentee ballot to be counted, the voter was required

to sign the outside of the envelope that contained the ballot.

        287.    Election officials who process absentee ballots are required to compare the signature

on the absentee ballot application with the signature on the absentee ballot envelope.186

        288.    Based on Michigan voters’ allegations, election officials at the TCF Center, for

example, instructed workers not to validate or compare signatures on absentee ballot applications

and absentee ballot envelopes to ensure their authenticity and validity.187

        289.    Michigan law requires absentee votes to be counted by election inspectors in a

particular manner. It requires, in relevant part:

        (10) The oaths administered under subsection (9) must be placed in an envelope
        provided for the purpose and sealed with the red state seal. Following the election, the
        oaths must be delivered to the city or township clerk. Except as otherwise provided in
        subsection (12), a person in attendance at the absent voter counting place or combined
        absent voter counting place shall not leave the counting place after the tallying has
        begun until the polls close. Subject to this subsection, the clerk of a city or township
        may allow the election inspectors appointed to an absent voter counting board in that
        city or township to work in shifts. A second or subsequent shift of election inspectors
        appointed for an absent voter counting board may begin that shift at any time on
        election day as provided by the city or township clerk. However, an election inspector
        shall not leave the absent voter counting place after the tallying has begun until the
        polls close. If the election inspectors appointed to an absent voter counting board are
        authorized to work in shifts, at no time shall there be a gap between shifts and the
        election inspectors must never leave the absent voter ballots unattended. At all times,
        at least 1 election inspector from each major political party must be present at the
        absent voter counting place and the policies and procedures adopted by the secretary
        of state regarding the counting of absent voter ballots must be followed. A person
        who causes the polls to be closed or who discloses an election result or in any manner
        characterizes how any ballot being counted has been voted in a voting precinct before
        the time the polls can be legally closed on election day is guilty of a felony.188

        290.    Under MCL 168.31, the Secretary of State can issue instructions and rules consistent

with Michigan statutes and the Constitution that bind local election authorities. Likewise, under



186
    See Affidavit of Jennifer Seidl, Appendix 931-938 at ¶60.
187
    See Affidavit of Jessy Jacobs, Appendix 846-848 at ¶15.
188
    MCL 168.765a (10) (emphasis added).


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MCL 168.765a(13), the Secretary can develop instructions consistent with the law for the conduct of

Absent Voter Counting Boards (“AVCB”) or combined AVCBs. “The instructions developed under

[] subsection [13] are binding upon the operation of an absent voter counting board or combined

absent voter counting board used in an election conducted by a county, city, or township.”189

        291.    Benson also promulgated an election manual that requires bipartisan oversight:

        Each ballot rejected by the tabulator must be visually inspected by an election
        inspector to verify the reason for the rejection. If the rejection is due to a false read
        the ballot must be duplicated by two election inspectors who have expressed a
        preference for different political parties. Duplications may not be made until after 8
        p.m. in the precinct (place the ballot requiring duplication in the auxiliary bin). At an
        AV counting board duplications can be completed throughout the day. NOTE: The
        Bureau of Elections has developed a video training series that summarizes key election
        day management issues, including a video on Duplicating Ballots. These videos can be
        accessed at the Bureau of Elections web site at www.michigan.gov/elections; under
        “Information for Election Administrators”; Election Day Management Training
        Videos. Election Officials Manual, Michigan Bureau of Elections, Chapter 8, last
        revised October 2020.190

        292.    Based on Michigan voters’ allegations, election officials at the TCF Center flouted §

168.765a because there were not, at all times, at least one inspector from each political party at the

absentee voter counting place. Rather, the many tables assigned to precincts under the authority of

the AVCB were staffed by inspectors for only one party. Those inspectors alone were deciding on

the processing and counting of ballots.191

        293.    Based on Michigan voters’ allegations, this processing included the filling out of

brand new “cure” or “duplicate” ballots. The process the election officials sanctioned worked in this

way. When an absentee ballot was processed and approved for counting, it was fed into a counting

machine. Some ballots were rejected—that is, they were a “false read”—because of tears, staining



189
    MCL 168.765a(13).
190
   https://www.michigan.gov/documents/sos/VIII_Absent_Voter_County_Boards_265998_7.pdf
(emphasis added).
191
    See Affidavit of Jennifer Seidl, Appendix 931-938 at ¶9; Affidavit of Eugene Dixon, Appendix
947-948 at ¶5; Affidavit of Mellissa Carone, Appendix 992-994 at ¶5.


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(such as coffee spills), over-votes, and other errors. In some of these cases, inspectors could visually

inspect the rejected ballot and determine what was causing the machine to find a “false read.” When

this happened, the inspectors could duplicate the ballot, expressing the voter’s intent in a new ballot

that could then be fed into the machine and counted.

         294.   Under § 168.765a and the Secretary of State’s controlling manual, as cited above, an

inspector from each major party must be present and must sign to show that they approve of the

duplication.

         295.   Based on Michigan voters’ allegations, rather than following this controlling

mandate, the AVCB was allowing a Democratic Party inspector only to fill out a duplicate.

Republicans would sign only “if possible.”192 A photograph evidencing this illicit process appears

below:




         296.   Based on Michigan voters’ allegations, the TCF Center election officials allowed

hundreds or thousands of ballots to be “duplicated” solely by the Democratic Party inspectors and

then counted in violation of Michigan election law.193


192
  See Affidavit of Patricia Blackmer, Appendix 923-927 at ¶11.
193
  See Affidavit of Zachary C. Larsen, Appendix 836-845 at ¶¶37-55; Affidavit of Janice Hermann,
Appendix 915-917 at ¶¶4-5; Affidavit of Jennifer Seidl, Appendix 931-938 at ¶29, 933 at ¶42;
Affidavit of Cassandra Brown, Appendix 939-944 at ¶¶33; Affidavit of Phillip O’Halloran, Appendix
901-910 at ¶22; Affidavit of Anna England, Appendix 949-950 at ¶8.


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        297.    Based on Michigan voters’ allegations, according to eyewitness accounts, election

officials at the TCF Center habitually and systematically disallowed election inspectors from the

Republican Party to be present in the voter counting place and refused access to election

inspectors from the Republican party to be within a close enough distance from the absentee

voter ballots to see for whom the ballots were cast.

        298.    Based on Michigan voters’ allegations, election officials at the TCF Center refused

entry to official election inspectors from the Republican Party into the counting place to observe the

counting of absentee voter ballots. Election officials even physically blocked and obstructed election

inspectors from the Republican party by adhering large pieces of cardboard to the transparent glass

doors so the counting of absent voter ballots was not viewable.194

        299.    Based on Michigan voters’ allegations, absentee ballots from military members, who

tend to vote Republican in the general elections, were counted separately at the TCF Center. All

(100%) of the military absentee ballots had to be duplicated by hand because the form of the ballot

was such that election workers could not run them through the tabulation machines used at the TCF

Center.195

        300.    Based on Michigan voters’ allegations, these military ballots were supposed to be the

last ones counted, but there was another large drop of ballots that occurred during the counting of

the military absentee ballots.196




194
    See Affidavit of Zachary C. Larsen, Appendix 836-845 at ¶¶37-55; Affidavit of Janice Hermann,
Appendix 915-917 at ¶5; Affidavit of Jennifer Seidl, Appendix 931-938 at ¶29, 932 at ¶32, 933 at
¶42; Affidavit of Cassandra Brown, Appendix 939-944 at ¶¶33; Affidavit of Anna England,
Appendix 949-950 at ¶¶5,7; Affidavit of Matthew Mikolajczak, Appendix 985-991; Affidavit of
Braden Giacobazzi, Appendix 995-1000 at ¶6.
195
    See Affidavit of Janice Hermann, Appendix 915-917 at ¶16.
196
    Id. see also, Affidavit of Robert Cushman, Appendix 928-930 at ¶¶4-5.


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        301.    Based on Michigan voters’ allegations, the military absentee ballot count at the TCF

Center occurred after the Republican challengers and poll watchers were kicked out of the counting

room.197

        302.    The Michigan Legislature also requires City Clerks to post the following absentee

voting information anytime an election is conducted that involves a state or federal office:

        a.      The clerk must post before 8:00 a.m. on Election Day: 1) the number of absent
                voter ballots distributed to absent voters 2) the number of absent voter ballots
                returned before Election Day and 3) the number of absent voter ballots
                delivered for processing.

        b.      The clerk must post before 9:00 p.m. on Election Day: 1) the number of absent
                voter ballots returned on Election Day 2) the number of absent voter ballots
                returned on Election Day which were delivered for processing 3) the total
                number of absent voter ballots returned both before and on Election Day and
                4) the total number of absent voter ballots returned both before and on
                Election Day which were delivered for processing.

        c.      The clerk must post immediately after all precinct returns are complete: 1) the
                total number of absent voter ballots returned by voters and 2) the total number
                of absent voter ballots received for processing.198

        303.    Based on Michigan voters’ allegations, the clerk for the City of Detroit failed to post

by 8:00 a.m. on “Election Day” the number of absentee ballots distributed to absent voters and

failed to post before 9:00 p.m. the number of absent voter ballots returned both before and on

“Election Day.”

        304.    According to Michigan Election law, all absentee voter ballots must be returned to

the clerk before polls close at 8 p.m.199 Any absentee voter ballots received by the clerk after the

close of the polls on election day should not be counted.

        305.    The Michigan Legislature allows for early counting of absentee votes before the

closings of the polls for large jurisdictions, such as the City of Detroit and Wayne County.


197
    Id. Affidavit of Jennifer Seidl, Appendix 931-938 at ¶42.
198
    See MCL 168.765(5).
199
    MCL 168.764a.


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        306.    Based on Michigan voters’ allegations, receiving tens of thousands more absentee

ballots in the early morning hours after Election Day and after the counting of the absentee ballots

had already concluded, without proper oversight, with tens of thousands of ballots attributed to

just one candidate, Joe Biden, confirms that election officials failed to follow proper election

protocols and established Michigan election law. 200

        307.    Based on Michigan voters’ allegations, missing the statutory deadline proscribed by

the Michigan Legislature for turning in the absentee ballot or timely updating the QVF invalidates

the vote under Michigan Election Law and the United States Constitution.

        308.    Based on Michigan voters’ allegations, poll challengers observed election workers

and supervisors writing on ballots themselves to alter them, apparently manipulating spoiled

ballots by hand and then counting the ballots as valid, counting the same ballot more than once,

adding information to incomplete affidavits accompanying absentee ballots, counting absen tee

ballots returned late, counting unvalidated and unreliable ballots, and counting the ballots of

“voters” who had no recorded birthdates and were not registered in the QVF or on any

supplemental sheets. 201

                l.       Michigan Voters Allege that Flooding the Election with
                         Absentee Ballots was Improper.

        309.    Michigan does not permit “mail-in” ballots per se, and for good reason: mail-in ballots

facilitate fraud and dishonest elections.202



200
    See Affidavit of John McGrath Appendix 968-972 at ¶4; Affidavit of Robert Cushman, Appendix
928-930 at ¶14.
201
    See Affidavit of Angelic Johnson Appendix 860-861 at ¶7; Affidavit of Adam di Angeli Appendix
951-967 at ¶61; see also, Affidavit of John McGrath, supra; Affidavit of Kristina Karamo, supra;
Affidavit of Robert Cushman, supra; Affidavit of Jennifer Seidl, supra; Affidavit of Braden
Giacobazzi, supra; Affidavit of Kristy Klamer, supra.
202
    See, e.g., Veasey v Abbott, 830 F3d 216, 256, 263 (5th Cir. 2016) (observing that “mail-in ballot fraud
is a significant threat—unlike in-person voter fraud,” and comparing “in-person voting—a form of


                                                    80
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        310.    Based on Michigan voters’ allegations, Secretary of State Benson’s absentee ballot

scheme, as explained above, achieved the same purpose as mail-in ballots—contrary to Michigan

law. In the most charitable light, this was profoundly naïve and cut against the plain language and

clear intent of the Michigan Legislature to limit fraud. More cynically, this was an intentional effort

to favor her preferred candidates.

        311.    Based on Michigan voters’ allegations, Benson put this scheme in place because it is

generally understood that Republican voters were more likely to vote in-person. This trend has been

true for decades and proved true with this Election too.203

        312.    Based on Michigan voters’ allegations, to counter this (i.e., the fact that Republicans

are more likely than Democrats to vote in-person), Benson implemented a scheme to permit mail-in

voting, leading to this dispute and the absentee ballot scheme that unfairly favored Democrats over

Republicans.

        313.    Based on Michigan voters’ allegations, in her letter accompanying her absentee ballot

scheme, Benson misstated, “You have the right to vote by mail in every election.” Playing on the

fears created by the current pandemic, Benson encouraged voting “by email,” stating, “During the

outbreak of COVID-19, it also enables you to stay home and stay safe while still making your voice

heard in our elections.”204

        314.    Based on Michigan voters’ allegations, prior to Election Day, the Democratic Party’s

propaganda was to push voters to vote by mail and to vote early. Democratic candidates used the

fear of the current pandemic to promote this agenda—an agenda that would benefit Democratic




voting with little proven incidence of fraud” with “mail-in voting, which the record shows is far
more vulnerable to fraud”).
203
    See Expert Report of John McLaughlin, Appendix 1135-1146.
204
    Affidavit of Christine Muise, Appendix 880-886 at ¶2, Ex A.


                                                   81
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Party candidates. For example, on September 14, 2020, the Democratic National Committee

announced the following:

        Today Biden for President and the Democratic National Committee are announcing
        new features on IWillVote.com—the DNC’s voter participation website—that will
        help voters easily request and return their ballot by mail, as well as learn important
        information about the voting process in their state as they make their plan to vote.

        Previously, an individual could use the site to check or update their registration and
        find voting locations. Now the new user experience will also guide a voter through
        their best voting-by-mail option . . . .205

        According to the Associated Press:

        “We have to make it easier for everybody to be able to vote, particularly if we are still
        basically in the kind of lockdown circumstances we are in now,” Biden told about 650
        donors. “But that takes a lot of money, and it’s going to require us to provide money
        for states and insist they provide mail-in ballots.”206

        315.     Based on Michigan voters’ allegations, similar statements were repeatedly publicly on

the Secretary of State’s website:

        Voters are encouraged to vote at home with an absentee ballot and to return their
        ballot as early as possible by drop box, in person at their city or township clerk’s office,
        or well in advance of the election by mail.207

        316.     The Michigan Legislature set forth detailed requirements for absentee ballots, and

these requirements are necessary to prevent voter fraud because it is far easier to commit fraud via

an absentee ballot than when voting in person.208 Michigan law plainly limits the ways you may get

an absentee ballot:

        (1) Subject to section 761(3), at any time during the 75 days before a primary or special
        primary, but not later than 8 p.m. on the day of a primary or special primary, an elector
        may apply for an absent voter ballot. The elector shall apply in person or by mail with the clerk of

205
    (available at https://democrats.org/news/biden-for-president-dnc-announce-new-vote-by-mail-
features-on-iwillvote-com/ (last visited Dec. 21, 2020)).
206
    (available at https://apnews.com/article/6cf3ca7d5a174f2f381636cb4706f505 (last visited Nov.
17, 2020)).
207 https://www.michigan.gov/sos/0,4670,7-127-1633_101996---,00.html (emphasis added).
208
    See, e.g., Griffin v Roupas, 385 F3d 1128, 1130-31 (CA7, 2004) (“Voting fraud is a serious problem
in U.S. elections generally . . . and it is facilitated by absentee voting”).


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the township or city in which the elector is registered. The clerk of a city or township
shall not send by first-class mail an absent voter ballot to an elector after 5 p.m. on the
Friday immediately before the election. Except as otherwise provided in section
761(2), the clerk of a city or township shall not issue an absent voter ballot to a
registered elector in that city or township after 4 p.m. on the day before the election.
An application received before a primary or special primary may be for either that
primary only, or for that primary and the election that follows. An individual may
submit a voter registration application and an absent voter ballot application at the
same time if applying in person with the clerk or deputy clerk of the city or township
in which the individual resides. Immediately after his or her voter registration
application and absent voter ballot application are approved by the clerk or deputy
clerk, the individual may, subject to the identification requirement in section 761(6),
complete an absent voter ballot at the clerk’s office.

(2) Except as otherwise provided in subsection (1) and subject to section 761(3), at
any time during the 75 days before an election, but not later than 8 p.m. on the day of
an election, an elector may apply for an absent voter ballot. The elector shall apply in person
or by mail with the clerk of the township, city, or village in which the voter is registered. The clerk
of a city or township shall not send by first-class mail an absent voter ballot to an
elector after 5 p.m. on the Friday immediately before the election. Except as otherwise
provided in section 761(2), the clerk of a city or township shall not issue an absent
voter ballot to a registered elector in that city or township after 4 p.m. on the day
before the election. An individual may submit a voter registration application and an
absent voter ballot application at the same time if applying in person with the clerk or
deputy clerk of the city or township in which the individual resides. Immediately after
his or her voter registration application and absent voter ballot application are
approved by the clerk, the individual may, subject to the identification requirement in
section 761(6), complete an absent voter ballot at the clerk’s office.
(3) An application for an absent voter ballot under this section may be made in any of
the following ways:

         (a) By a written request signed by the voter.

         (b) On an absent voter ballot application form provided for that purpose by
         the clerk of the city or township.

         (c) On a federal postcard application.

(4) An applicant for an absent voter ballot shall sign the application. Subject to section
761(2), a clerk or assistant clerk shall not deliver an absent voter ballot to an applicant
who does not sign the application. A person shall not be in possession of a signed
absent voter ballot application except for the applicant; a member of the applicant’s
immediate family; a person residing in the applicant’s household; a person whose job
normally includes the handling of mail, but only during the course of his or her
employment; a registered elector requested by the applicant to return the application;
or a clerk, assistant of the clerk, or other authorized election official. A registered
elector who is requested by the applicant to return his or her absent voter ballot
application shall sign the certificate on the absent voter ballot application.


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        (5) The clerk of a city or township shall have absent voter ballot application forms
        available in the clerk’s office at all times and shall furnish an absent voter ballot application
        form to anyone upon a verbal or written request.209

        317.     Based on Michigan voters’ allegations, the Secretary of State sent unsolicited absentee

ballot applications to every household in Michigan with a registered voter, no matter if the voter was

still alive or lived at that address.

        318.     Based on Michigan voters’ allegations, the Secretary of State also sent absentee ballot

requests to non-residents who were temporarily living in Michigan, such as out-of-state students

who are unregistered to vote in Michigan.

        319.     Based on Michigan voters’ allegations, in many instances, the Secretary of State’s

absentee ballot scheme led to the Secretary of State sending ballot requests to individuals who did

not request them.210

                 m.       Michigan Voters Allege that Expert Analysis of these Statutory
                          Violations Reveals Widespread Inaccuracies and Loss of
                          Election Integrity.

        320.     Data analyst Matthew Braynard analyzed the State’s database for the Election and

related data sets, including its own call center results.211

        321.     Dr. Zhang, a statistician, analyzed the data to extrapolate the datasets statewide.212

                 n.       Unlawful unsolicited ballots cast in General Election

        322.     Braynard opined to a reasonable degree of scientific certainty that out of the

3,507,410 individuals who the State’s database identifies as applying for and the State sending an




209
    MCL 168.759 (emphasis added).
210
    See Affidavit of Christine Muise, Appendix 880-885 at ¶3. Affidavit of Rena M. Lindevaldesen,
Appendix 1001-1005 at ¶¶1,3 and 1002 ¶5.
211
    See, generally, Expert Report of Matthew Braynard, Appendix 1112-1122.
212
    See, generally, Expert Report of Dr. Quanying “Jennie” Zhang, Appendix 1123-1134.


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absentee ballot, that in his sample of this universe, 12.23% of those absentee voters that did not

request an absentee ballot to the clerk’s office.213

        323.     These data extrapolate with 99% confidence interval that between 326,460 and

531,467 of the absentee ballots the State issued that were counted were not requested by an eligible

State voter (unsolicited).214

                 o.         Unsolicited ballots not cast in General Election

        324.     Out of the 139,190 individuals who the State’s database identifies as having not

requested (unsolicited) and not returned an absentee ballot, 24.14% of these absentee voters in the

State did not request an absentee ballot.215

        325.     These data extrapolate with 99% confidence interval that between 28,932 and 38,409

of the absentee ballots the State issued were not requested by an eligible State voter (unsolicited).216

        326.     Using the most conservative boundary, taken together, these data suggest Michigan

election officials violated Michigan Lection Law by sending unsolicited ballots to at least 355,392

people.217

                 p.         Absentee ballots were also cast but not properly counted
                            (improperly destroyed or spoiled)

        327.     Out of the 139,190 individuals who the State’s database identifies as having not

returned an absentee ballot, 22.95% of those absentee voters did in fact mail back an absentee ballot

to the clerk’s office.218

        328.     This suggests many ballots were destroyed or not counted.



213
    See Expert Report of Matthew Braynard, Appendix 1112-1122 at ¶1.
214
    Expert Report of Dr. Quanying “Jennie” Zhang, Appendix 1123-1134 at ¶1.
215
    See Expert Report of Matthew Braynard, Appendix 1112-1122 at ¶2.
216
    Expert Report of Dr. Quanying “Jennie” Zhang, Appendix 1123-1134 at ¶2.
217
    Id. See also, Affidavit of Sandra Sue Workman, Appendix 1028-1032 at ¶28.
218
    See Expert Report of Matthew Braynard, Appendix 1112-1122 at ¶3.


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        329.     These data extrapolate with 99% confidence interval that between 29,682 and 39,048

of absentee ballots that voters returned but were not counted in the State’s official records.219

        330.     Out of the 51,302 individuals that had changed their address before the election who

the State’s database shows as having voted, 1.38% of those individuals denied casting a ballot.220

        331.     This suggests that bad actors exploited election officials’ unlawful practice of sending

unsolicited ballots and improperly harvested ballots on a widespread scale.

        332.     Indeed, by not following the anti-fraud measures mandated by the Michigan

Legislature, the Secretary of State’s absentee ballot scheme invited the improper use of absentee

ballots and promoted such unlawful practices as ballot harvesting.221

        333.     Using the State’s databases, the databases of the several states, and the NCOA

database, at least 13,248 absentee or early voters were not residents of Michigan when they voted.222

        334.     Of absentee voters surveyed and when comparing databases of the several states, at

least 317 individuals in Michigan voted in more than one state.223

                 q.      Election officials ignored other statutory signature requirements

        335.     The Secretary of State also sent ballots to people who requested ballots online, but

failed to sign the request.224

        336.     As of October 7, 2020, Brater admits sending at least 74,000 absentee ballots without

a signed request as mandated by the Michigan Legislature.225




219
    Expert Report of Dr. Quanying “Jennie” Zhang, Appendix 1123-1134 at ¶3.
220
    Id. at ¶4.
221
    See Affidavit of Rhonda Weber, Appendix 877-879 at ¶7.
222
    See Expert Report of Matthew Braynard, Appendix 1112-1122 at ¶5.
223
    See Expert Report of Matthew Braynard, Appendix 1112-1122 at ¶6.
224
    See adverse Affidavit of Jonathan Brater, Head of Elections Appendix 1147-1151 at ¶10.
225
    Id.


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        337.     By the Election, we must infer that the actual number of illegal ballots sent was

much higher.

        338.     According to state records, another 35,109 absentee votes counted by Benson listed

no address.226

        339.     As a result of the absentee ballot scheme, the Secretary of State improperly flooded

the election process with absentee ballots, many of which were fraudulent.

        340.     The Secretary of State’s absentee ballot scheme violated the checks and balances put

in place by the Michigan Legislature to ensure the integrity and purity of the absentee ballot process

and thus the integrity and purity of the 2020 general election.227

        341.     Without limitation, according to state records, 3,373 votes counted in Michigan were

ostensibly from voters 100 years old or older.228

        342.     According to census data, however, there are only about 1,747 centenarians in

Michigan,229 and of those, we cannot assume a 100% voting rate.230

        343.     According to state records, at least 259 absentee ballots counted listed their official

address as “email” or “accessible by email,” which are unlawful per se and suggests improper ballot

harvesting.231




226
    See Braynard Report, supra.
227
    See, generally, Affidavits of Lucille Ann Huizinga, Appendix 1016-1020 at ¶31; Laurie Ann Knott,
Appendix 1010-1015 at ¶¶34-35; Marilyn Jean Nowak Appendix 1021-1023 at ¶17; Marlene K.
Hager, Appendix 1024-1027 at ¶¶19-23; and Sandra Sue Workman Appendix 1028-1032 at ¶33.
228
    See Braynard, supra.
229
    Based on the US Census, 0.0175 percent of Michigan's population is 100 years or older (1,729
centenarians of the total of 9,883,640 people in Michigan in 2010). Census officials estimated
Michigan’s population at 9,986,857 as of July 2019, which puts the total centenarians at 1,747 or
fewer. Source:
https://www.census.gov/content/dam/Census/library/publications/2012/dec/c2010sr-03.pdf
230
    See McLaughlin, supra.
231
    See Braynard, supra.


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        344.    According to state records, at least 109 people voted absentee from the Center for

Forensic Psychiatry at 8303 PLATT RD, SALINE, MI 48176 (not necessarily ineligible felons, but

the State does house the criminally insane at this location), which implies improper ballot harvesting.

        345.    According to state records, at least 63 people voted absentee at PO BOX 48531,

OAK PARK, MI 48237, which is registered to a professional guardian and implies improper ballot

harvesting.

        346.    When compared against the national social security and deceased databases, at least 9

absentee voters in Michigan are confirmed dead as of Election Day, which invalidates those

unlawful votes.232

        347.    Taken together, these irregularities far exceed common sense requirements for

ensuring accuracy and integrity.

                r.         Election officials did not fix other recent errors or serious
                           irregularities either.

        348.    These are the same types of serious concerns raised by the Michigan Auditor

General in December 2019.233

        349.    The Auditor General specifically found several violations of MCL 168.492:

                      i.   2,212 Electors voted more than once;

                     ii.   230 voters were over 122 years old;234 Id.

                 iii.      Unauthorized users had access to QVF; Id.; and

                 iv.       Clerk and Elected Officials had not completed required training.235




232
    See Braynard, supra.
233
    Appendix 1039-1078.
234
    The oldest living person confirmed by the Guinness Book of World Records is 117 years old and she
lives in Japan, not Michigan.
235
    Id.


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          350.   The Auditor General found election officials had not completed required training to

obtain or retain accreditation in 14% of counties, 14% of cities, and 23% of townships.236

          351.   The Auditor General found 32 counties, 83 cities, and 426 townships where the clerk

had not completed initial accreditation training or, if already accredited, all continuing education

training as required by law.237

          352.   The Auditor General found 12 counties, 38 cities, and 290 townships where the clerk

had not completed the initial accreditation or continuing education training requirements and no

other local election official had achieved full accreditation.238

          353.   Not only were the Auditor General’s red flags ignored by Benson, but she arguably

made them worse through her absentee ballot scheme.

          354.   This not only suggests malfeasance, but the scheme precipitated and revealed

manifest fraud and exploitation at a level Michigan has never before encountered in its elections.

          355.   The abuses permitted by the Secretary of State’s ballot scheme were on display at the

TCF Center, and elsewhere throughout the State.

          356.   Because this absentee ballot scheme applied statewide, it undermined the integrity

and purity of the general election statewide, and it dilutes the lawful votes of millions of Michigan

voters.

                 s.      Michigan Voters Allege Flooding Local Election Officials with
                         Private Money

          357.   Based on Michigan voters’ allegations, inappropriate secrecy and lack of transparency

began months before Election Day with an unprecedented and orchestrated infusion of hundreds of

millions of dollars into local governments nationwide.


236
    Id.
237
    Id.
238
    Id.


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           358.    Based on Michigan voters’ allegations, more than $9.8 million in private money was

poured into Michigan to create an unfair, two-tier election system in Michigan.239

           359.    Based on Michigan voters’ allegations, the 2020 election saw the evisceration of state

statutes designed to treat voters equally, thereby causing disparate treatment of voters and thus

violating the constitutional rights of millions of Michiganders and Americans citizens.

           360.    Based on Michigan voters’ allegations, to date, investigations have uncovered more

than $400 million funneled through a collection of non-profits directly to local government coffers

nationwide dictating to these local governments how they should manage the election, often

contrary to state law.240

           361.    Based on Michigan voters’ allegations, these funds were mainly used to: 1) pay

“ballot harvesters” bounties, 2) fund mobile ballot pick up units, 3) deputize and pay political

activists to manage ballots; 4) pay poll workers and election judges (a/k/a inspectors or

adjudicators); 5) establish drop-boxes and satellite offices; 6) pay local election officials and agents

“hazard pay” to recruit cities recognized as Democratic Party strongholds to recruit other cities to

apply for grants from non-profits; 7) consolidate AVCBs and counting centers to facilitate the

movement of hundreds of thousands of questionable ballots in secrecy without legally required bi-

partisan observation; 8) implement a two-tier ballot “curing” plan that unlawfully counted ballots in

Democrat Party strongholds and spoiled similarly situated ballots in Republican Party areas; and 9)

subsidized and designed a scheme to remove the poll watchers from one political party so that the

critical responsibility of determining the accuracy of the ballot and the integrity of the count could

be done without oversight.




239
      See Carlson Report, supra.
240
      See Carlson Report, supra.


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        362.    The Help America Vote Act of 2002 (HAVA) controls how money is spent under

federal law. See 42 USC 15301, et seq; see also, MCL 168.18. In turn, Congress used HAVA to create

the non-regulatory Election Assistance Commission (EAC), which was delegated the responsibility

of providing information, training standards, and funding management to states. The mechanism for

administrating HAVA is legislatively adopted state HAVA Plans.

        363.    Michigan’s HAVA Plan is undisputed.241

        364.    Based on Michigan voters’ allegations, these private funds exceeded the federal

government’s March 2020 appropriation under HAVA and CARES Acts to help local governments

manage the general election during the pandemic.

        365.    Based on Michigan voters’ allegations, as these unmonitored funds flowed through

the pipeline directly to hand-picked cities, the outlines of two-tiered treatment of the American voter

began to take place. Local governments in Democrat Party strongholds were flush with cash to

launch public-private coordinated voter registration drives allowing private access directly to

government voter registration files, access to early voting opportunities, the provision of incentives

such as food, entertainment, and gifts for early voters, and the off-site collection of ballots. Outside

the urban core and immediate suburbs, unbiased election officials were unable to start such efforts

for lack of funding.

        366.    Based on Michigan voters’ allegations, difficult to trace private firms funded this

scheme through private grants, which dictated methods and procedures to local election officials and

where the grantors retained the right to “claw-back” all funds if election officials failed to reach

privately set benchmarks—thus entangling the private-public partnership in ways that demand

transparency—yet none has been given.



241
  See Certified Michigan HAVA State Plan of 2003, Terri Lynn Land Secretary, FR Vol. 69. No. 57
March 24 2004.


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          367.    Based on Michigan voters’ allegations, the state officials implicated, and the private

interests involved, have refused repeated demands for the release of communications outlining the

rationale and plan behind spending more than $400 million provided directly to various election

officials before the 2020 general election.

          368.    Based on Michigan voters’ allegations, these funds greased the skids of Democrat-

heavy areas violating mandates of the Michigan Legislature, the Michigan HAVA Plan, the dictates

of Congress under HAVA, and equal protection and Separation of Powers demanded under the

United States Constitution.

          369.    Based on Michigan voters’ allegations, in Michigan specifically, CTCL had awarded

eleven grants as of the time of this survey. CTCL funded cities were:

                     i.   Detroit ($3,512,000);

                    ii.   Lansing ($443,742);

                   iii.   East Lansing ($43,850);

                   iv.    Flint ($475,625);

                    v.    Ann Arbor ($417,000);

                   vi.    Muskegon ($433,580);

                  vii.    Pontiac ($405,564);

                  viii.   Romulus ($16,645);

                   ix.    Kalamazoo ($218,869); and

                    x.    Saginaw ($402,878).242

          370.    In the 2016 election, then candidate Donald Trump only won Saginaw; then

candidate Hillary Clinton won the remaining cities.




242
      See Expert Report of James Carlson, Appendix 1079-1111. (last updated November 25, 2020).


                                                    92
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        371.    Based on Michigan voters’ allegations, in 2020, CTCL funneled $9,451,235 (95.7%)

to the ten jurisdictions where candidate Clinton won and only $402,878 (4.3%) to where candidate

Trump won.243

                t.      Michigan Voters Allege Unacceptable Antrim County Machine Error
                        Rate.

        372.    Based on Michigan voters’ allegations, Antrim County, Michigan, reported errors

arising from the November 3, 2020 election.

        373.    Based on Michigan voters’ allegations, a report regarding Antrim County, Michigan,

alleges that Dominion Voting Systems, the election technology used by Antrim County and

elsewhere, "is intentionally and purposefully designed with inherent errors to create systemic fraud

and influence election results." It's unclear how Allied Security Operations Group (ASOG) reached

this conclusion, however.244

        374.    Based on Michigan voters’ allegations, likewise, the report, authored by Russell James

Ramsland, Jr., who is part of ASOG's management team, says the group found an "error rate" of

68% when examining "the tabulation log" of the server for Antrim County. It's also unclear what the

"error rate" data refers to specifically and how it impacts the results.245

        375.    Based on Michigan voters’ allegations, "The results of the Antrim County 2020

election are not certifiable," Ramsland wrote. "This is a result of machine and/or software error, not

human error."246




243
    Id.
244
    See Expert Report of Russell J. Ramsland, Jr., Appendix 1146-1168. See Expert Opinion of
Anthony J. Couchenor, Appendix 42-47. See Expert Opinion of Dr. Navid Keshavarz-Nia, Appendix
119-128.
245
    Id.
246
    See Ramsland Report, Appendix pg. 2 ¶ 7.


                                                    93
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                 u.     Michigan Voters Allege Absentee Ballot Errors.

        376.     As mentioned above, the Braynard-Zhang analysis, in Michigan, based on the

government data shows election officials’ absentee ballot errors of 548,016 far exceed the margin of

victory of 148,152.

        377.     The Braynard-Zhang analysis of the government data shows election officials’

absentee ballot error rate of at least 6.05% which far exceeds federal law’s pre-election certification

error rate for voting systems’ hardware and software of 0.0008%.247

                                     Michigan Voter Election Contest
                                       Michigan Margin +148,152
                     Type*                            Description                      Margin
                1) Unlawful                       Unsolicited Ballots248               355,392
                     Ballots
                 Category 1                Error Rate (Based on Total Votes)            6.05%
                  2) Illegal               Estimate of ballots requested in the
                      Votes               name of a registered voter. Registered        27,825
                    Counted                    Voter did not request ballot
                  3) Legal                Estimate of ballots that the requester
                      Votes                 returned but were not counted249            29,682
                       Not
                    Counted
               Category 2 and 3250
               Total Votes: 53,968          Error Rate (Based on Total Votes)           0.97%

                 4) Illegal
                    Votes                       Electors with no address.251            35,109
                   Counted
                 5) Illegal                                                              259
                    Votes
                   Counted

247
    See Expert Report of Dennis Nathan Cain (III), Appendix 1433-1445.
248
    The number of unsolicited ballots come from the combination of 326,460 absentee ballots issued
by the State but not requested by an eligible State voter and the 28,932 absentee ballots the State
claims were not returned but who claim they in fact mailed their absentee ballot back. Both of these
numbers are the conservative end of Dr. Zhang’s 99% confidence interval. Expert Report of Dr.
Quanying “Jennie” Zhang, Appendix 1123-1134 at ¶2-3.
249
    Expert Report of Dr. Quanying “Jennie” Zhang, Appendix 1123-1134 at ¶3.
250
    Categories 2 and 3 are mutually exclusive.
251
    See Expert Report of Matthew Braynard, Appendix 1112-1122.


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                                           Electors voted listing email only252
               6) Unlawful               No signature required to obtain ballot253       74,000
                    Ballots
                 7) Illegal             Absentee or Early Voters Not Residents           13,248
                    Votes                         when they voted254
                   Counted
                 8) Illegal                  Double Votes (Voted in multiple               317
                    Votes                              states)255
                   Counted
                   TOTAL                                                                 548,016
                                            Of total votes cast in MI: 5,547,053

          4. State of Wisconsin voters allege election official errors and improprieties which
             exceed the Presidential vote margin. 256

        378.    State of Wisconsin voters allege election official errors and improprieties which

exceed the Presidential vote margin.

        376.    Wisconsin has 10 electoral votes, with a statewide vote tally currently estimated at

1,610,151 for President Trump and 1,630,716 for former Vice President Biden (i.e., a margin of

20,565 votes). In two counties, Milwaukee and Dane, Mr. Biden’s margin (364,298 votes)

significantly exceeds his statewide lead.

        379.    In the 2016 general election some 146,932 mail-in ballots were returned in Wisconsin

out of more than 3 million votes cast. In stark contrast, 1,275,019 mail-in ballots, nearly a 900

percent increase over 2016, were returned in the November 3, 2020 election.

        380.    Based on Wisconsin voters’ allegations, on November 30, 2020, Governor Tony

Evers certified Joe Biden’s victory in Wisconsin in a Certificate of Ascertainment, soon after he

received a certification from Ann Jacobs, chairwoman of the Wisconsin Election Commission.



252
    See Expert Report of Matthew Braynard, Appendix 1112-1122.
253
    See Declaration of Jonathan Brater, Appendix 1147-1151 at ¶ 10.
254
    See Expert Report of Matthew Braynard, Appendix 1112-1122 at ¶ 5.
255
    See Expert Report of Matthew Braynard, Appendix 1112-1122 at ¶ 6.
256
    For full extent of inappropriate activities See Timeline of Electoral Policy Activities, Issues, and
Litigation Pennsylvania, Michigan, Wisconsin, Georgia, Arizona, and Nevada August 2003 to
November 2020, Appendix 1-20.


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Jacobs signed a statement of canvass to confirm who won the election. The Wisconsin Election

Commission was due to meet on Tuesday, December 1, 2020. Republican Commissioners Dean

Knudson had requested that Jacobs wait until Tuesday, when the Commission was to meet, to

determine the results, the statutory deadline.257

        381.    Based on Wisconsin voters’ allegations, by certifying the election on her own, Jacobs

usurped power that belongs to the Wisconsin Election Commission. Wisconsin Statutes § 7.70 sets

forth the proper procedure for certifying Wisconsin’s election results. The chairperson is required to

examine the certified statements of the county board of canvassers, and obtain input from the

county boards if it appears material mistakes have been made. Thereafter, under § 7.70(3)(d), the

chairperson is to “examine and make a statement of the total number of votes cast at any election

for the offices involved in the election for president and vice president…” Under § 7.70(3)(f), these

statements are to show the “persons’ names receiving votes” and “the whole number of votes given

to each….” § 7.70(3)(g) states that following “each other election [other than a primary election] the

chairperson of the commission or the chairperson’s designee shall prepare a statement certifying the

results of the election and shall attach to the statement a certificate of determination which shall

indicate the names of persons who have been elected to any state or national office .... The

chairperson of the commission or the chairperson’s designee shall deliver each statement and

determination to the commission.”258

        382.    Based on Wisconsin voters’ allegations, Wisconsin Statutes § 7.70(5)(b) states what is

supposed to come next in a presidential election. “For presidential electors, the commission shall

prepare a certificate showing the determination of the results of the canvass and the names of the



257
    See Supplement to Emergency Petition, Appendix 384-396. See Also Wisconsin Elections
Committee Letter, Appendix 1469-1470.
258
    See Wisconsin Finance Committee E-mails and Wisconsin Republican Presidential Elector
Signatures, Appendix 1473-1476.


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persons elected, and the governor shall sign, affix the great seal of the state, and transmit the

certificate by registered mail to the U.S. administrator of general services. The governor shall also

prepare 6 duplicate originals of such certificate and deliver them to one of the presidential electors

on or before the first Monday after the 2nd Wednesday in December.” (emphasis supplied).

           383.    Based on Wisconsin voters’ allegations, as set forth clearly in the statute, Wisconsin

law requires the chairperson of the commission to prepare a certificate of the votes received by each

candidate in the presidential election, and transmit these results to the commission. Thereafter, the

commission is required to prepare a certificate showing the names of the persons elected, and

transmit this certificate to the governor. Only then is the governor authorized to transmit this

certificate to the U.S. administrator of general services.

           384.    Based on Wisconsin voters’ allegations, Chairwoman Jacobs certified these results,

without authority, before the Wisconsin Election Commission meeting, in an attempt to bypass the

Wisconsin Election Commission, who had a lawful duty to examine and certify the results for

themselves. Chairwoman Jacobs’ certification is a usurpation of the statutory authority of the

Wisconsin Election Commission. Furthermore, the Governor’s Certificate of Ascertainment, based

on Chairwoman Jacobs’ certification, rather than the lawful certification of the Commission, is a

usurpation of authority, and is legally null and void.

           385.    Further, based on Wisconsin voters’ allegations, Wisconsin statutes guard against

fraud in absentee ballots: “[V]oting by absentee ballot is a privilege exercised wholly outside the

traditional safeguards of the polling place. The legislature finds that the privilege of voting by

absentee ballot must be carefully regulated to prevent the potential for fraud or abuse[.]”259




259
      Wis. Stat. § 6.84(1).


                                                     97
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          386.    Based on Wisconsin voters’ allegations, in direct contravention of Wisconsin law,

leading up to the 2020 general election, the Wisconsin Elections Commission (“WEC”) and other

local officials unconstitutionally modified Wisconsin election laws—each time taking steps that

weakened, or did away with, established security procedures put in place by the Wisconsin legislature

to ensure absentee ballot integrity.260

          387.    Based on Wisconsin voters’ allegations, for example, the WEC undertook a

campaign to position hundreds of drop boxes to collect absentee ballots—including the use of

unmanned drop boxes.

          388.    Based on Wisconsin voters’ allegations, the mayors of Wisconsin’s five largest

cities—Green Bay, Kenosha, Madison, Milwaukee, and Racine, which all have Democrat

majorities—joined in this effort, and together, developed a plan use purportedly “secure drop-boxes

to facilitate return of absentee ballots.” Wisconsin Safe Voting Plan 2020, at 4 (June 15, 2020).261

          389.    Based on Wisconsin voters’ allegations, it was alleged in an action filed in United

States District Court for the Eastern District of Wisconsin that over five hundred unmanned, illegal,

absentee ballot drop boxes were used in the Presidential election in Wisconsin.

          390.    Based on Wisconsin voters’ allegations, however, the use of any drop box, manned

or unmanned, is directly prohibited by Wisconsin statute. The Wisconsin legislature specifically

described in the Election Code “Alternate absentee ballot site[s]” and detailed the procedure by

which the governing body of a municipality may designate a site or sites for the delivery of absentee

ballots “other than the office of the municipal clerk or board of election commissioners as the




260
      See Appendix 201-269; 378-383.
261
      See Appendix pgs. 270-290; 291-346.


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location from which electors of the municipality may request and vote absentee ballots and to which

voted absentee ballots shall be returned by electors for any election.”262

        391.    Based on Wisconsin voters’ allegations, any alternate absentee ballot site “shall be

staffed by the municipal clerk or the executive director of the board of election commissioners, or

employees of the clerk or the board of election commissioners.”263 Likewise, Wis.Stat. 7.15(2m)

provides, “[i]n a municipality in which the governing body has elected to an establish an alternate

absentee ballot sit under s. 6.855, the municipal clerk shall operate such site as though it were his or

her office for absentee ballot purposes and shall ensure that such site is adequately staffed.”

        392.    Based on Wisconsin voters’ allegations, thus, the unmanned absentee ballot drop-off

sites are prohibited by the Wisconsin Legislature as they do not comply with Wisconsin law

expressly defining “[a]lternate absentee ballot site[s].”264

        393.    Based on Wisconsin voters’ allegations, in addition, the use of drop boxes for the

collection of absentee ballots, positioned predominantly in Wisconsin’s largest cities, is directly

contrary to Wisconsin law providing that absentee ballots may only be “mailed by the elector, or

delivered in person to the municipal clerk issuing the ballot or ballots.”265

        394.    Based on Wisconsin voters’ allegations, The fact that other methods of delivering

absentee ballots, such as through unmanned drop boxes, are not permitted is underscored by Wis.

Stat. § 6.87(6) which mandates that, “[a]ny ballot not mailed or delivered as provided in this

subsection may not be counted.” Likewise, Wis. Stat. § 6.84(2) underscores this point, providing that

Wis. Stat. § 6.87(6) “shall be construed as mandatory.” The provision continues—“Ballots cast in

contravention of the procedures specified in those provisions may not be counted. Ballots counted in



262
    Wis. Stat. 6.855(1).
263
    Wis. Stat. 6.855(3).
264
    Wis. Stat. 6.855(1), (3).
265
    Wis. Stat. § 6.87(4)(b)1 (emphasis added).


                                                     99
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contravention of the procedures specified in those provisions may not be included in the certified result of any

election.”266

          395.     Based on Wisconsin voters’ allegations, as a result of the Zuckerberg-funded

absentee drop boxes, the Milwaukee County and Dane County had 1 drop box for every 30.7 square

miles. But, the rest of Wisconsin had 1 drop box for every 145 square miles. Wisconsin localities

provided approximately 514 ballot drop boxes leading up to the 2020 election.267

          396.     In 2016, Hillary Clinton received 1,382,536 votes in Wisconsin.268 Of those 1.3M

votes, Milwaukee and Dane Counties accounted for 506,519269 of Clinton’s votes.270

          397.     Wisconsin is a total of 65,498 square miles. Milwaukee and Dane Counties represent

a combined 2,427 square miles. These two counties received about one-sixth of the total number of

ballot drop boxes with 79 boxes. Milwaukee received 25 drop boxes, while Dane County (Madison)

had 54 drop boxes.271 This left the rest of the state with 435 ballot drop boxes.272

          398.     Voters in Hillary Clinton’s two largest counties: Milwaukee and Dane, where she

received 506,519 votes, received 79 drop boxes spread out over a combined 2,427 square miles, or 1

drop box for every 30.7 square miles. Meanwhile, voters in the rest of the state received 435 drop




266
    Wis. Stat. § 6.84(2) (emphasis added).
267
    https://www.wisconsinwatch.org/2020/10/wisconsin-absentee-ballot-drop-box-search/. See
Expert Declaration of Dennis Nathan Cain (II), Appendix 60-68. See Also Appendix 353-377.
268
    https://www.nytimes.com/elections/2016/results/wisconsin-president-clinton-trump
269
    https://www.nytimes.com/elections/2016/results/wisconsin-president-clinton-trump
270
    The next eight largest Wisconsin counties gave Hillary Clinton an additional 346,352 votes.
https://www.nytimes.com/elections/2016/results/wisconsin-president-clinton-trump
Waukesha (Milwaukee area) had 5 drop boxes, Brown County (Green Bay) had 13 drop boxes, 13 in
Racine, Outagamie 5, Winnebago 5, Kenosha 8, Rock 26, Marathon 10.270
Wisconsin has sixteen counties with over 100k residents: Milwaukee, Dane (Madison), Waukesha,
Brown (Green Bay), Racine, Outagamie, Winnebago, Kenosha, Rock, Washington, Marathon, La
Crosse, Sheboygan, Eau Claire, Walworth, Fond du Lac.270
271
    https://www.wisconsinwatch.org/2020/10/wisconsin-absentee-ballot-drop-box-search/
272
    514-79 = 435


                                                            100
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boxes to cover 63,071 square miles, meaning that the rest of Wisconsin had a single drop box for

every 145 square miles.

         399.    Based on Wisconsin voters’ allegations, these were not the only Wisconsin election

laws that the WEC violated in the 2020 general election. The WEC and local election officials also

took it upon themselves to encourage voters to unlawfully declare themselves “indefinitely

confined”—which under Wisconsin law allows the voter to avoid security measures like signature

verification and photo ID requirements.

         400.    Specifically, registering to vote by absentee ballot requires photo identification,

except for those who register as “indefinitely confined” or “hospitalized.”273 Registering for

indefinite confinement requires certifying confinement “because of age, physical illness or infirmity

or [because the voter] is disabled for an indefinite period.”274 Should indefinite confinement cease,

the voter must notify the county clerk,275 who must remove the voter from indefinite-confinement

status.276

         401.    Wisconsin election procedures for voting absentee based on indefinite confinement

enable the voter to avoid the photo ID requirement and signature requirement.277

         402.    Based on Wisconsin voters’ allegations, on March 25, 2020, in clear violation of

Wisconsin law, Dane County Clerk Scott McDonnell and Milwaukee County Clerk George

Christensen both issued guidance indicating that all voters should mark themselves as “indefinitely

confined” because of the COVID-19 pandemic.278




273
    Wis. Stat. § 6.86(2)(a), (3)(a).
274
    Id. § 6.86(2)(a).
275
    Id.
276
    Id. § 6.86(2)(b).
277
    Id. § 6.86(1)(ag)/(3)(a)(2).
278
    See Appendix pgs. 347-349.


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        403.    Based on Wisconsin voters’ allegations, believing this to be an attempt to circumvent

Wisconsin’s strict voter ID laws, the Republican Party of Wisconsin petitioned the Wisconsin

Supreme Court to intervene. On March 31, 2020, the Wisconsin Supreme Court unanimously

confirmed that the clerks’ “advice was legally incorrect” and potentially dangerous because “voters

may be misled to exercise their right to vote in ways that are inconsistent with WISC. STAT. §

6.86(2).”

        404.    Based on Wisconsin voters’ allegations, on May 13, 2020, the Administrator of WEC

issued a directive to the Wisconsin clerks prohibiting removal of voters from the registry for

indefinite-confinement status if the voter is no longer “indefinitely confined.”

        405.     Based on Wisconsin voters’ allegations, the WEC’s directive violated Wisconsin law.

Specifically, WISC. STAT. § 6.86(2)(a) specifically provides that “any [indefinitely confined] elector

[who] is no longer indefinitely confined … shall so notify the municipal clerk.” WISC. STAT. §

6.86(2)(b) further provides that the municipal clerk “shall remove the name of any other elector

from the list upon request of the elector or upon receipt of reliable information that an elector no

longer qualifies for the service.”

        406.    Based on Wisconsin voters’ allegations, according to statistics kept by the WEC,

nearly 216,000 voters said they were indefinitely confined in the 2020 election, nearly a fourfold

increase from nearly 57,000 voters in 2016. In Dane and Milwaukee counties, more than 68,000

voters said they were indefinitely confined in 2020, a fourfold increase from the roughly 17,000

indefinitely confined voters in those counties in 2016.

        407.    Under Wisconsin law, voting by absentee ballot also requires voters to complete a

certification, including their address, and have the envelope witnessed by an adult who also must




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sign and indicate their address on the envelope.279 The sole remedy to cure an “improperly

completed certificate or [ballot] with no certificate” is for “the clerk [to] return the ballot to the

elector[.]”280 “If a certificate is missing the address of a witness, the ballot may not be counted.”281

        408.     Based on Wisconsin voters’ allegations, however, in a training video issued April 1,

2020, the Administrator of the City of Milwaukee Elections Commission unilaterally declared that a

“witness address may be written in red and that is because we were able to locate the witnesses’

address for the voter” to add an address missing from the certifications on absentee ballots. The

Administrator’s instruction violated WISC. STAT. § 6.87(6d). The WEC issued similar guidance on

October 19, 2020, in violation of this statute as well.282

        409.     Based on Wisconsin voters’ allegations, in the Wisconsin Trump Campaign

Complaint, it is alleged, supported by the sworn affidavits of poll watchers, that canvas workers

carried out this unlawful policy, and acting pursuant to this guidance, in Milwaukee used red-ink

pens to alter the certificates on the absentee envelope and then cast and count the absentee ballot.

These acts violated WISC. STAT. § 6.87(6d) (“If a certificate is missing the address of a witness, the

ballot may not be counted”).283

        410.     Wisconsin’s legislature has not ratified these changes, and its election laws do not

include a severability clause.

        411.     Based on Wisconsin voters’ allegations, in addition, Ethan J. Pease, a box truck

delivery driver subcontracted to the U.S. Postal Service (“USPS”) to deliver truckloads of mail-in



279
    See Wis. Stat. § 6.87.
280
    Id. § 6.87(9).
281
    Id. § 6.87(6d) (emphasis added).
282
    See Appendix pgs. 350-352.
283
    See also Wis. Stat. § 6.87(9) (“If a municipal clerk receives an absentee ballot with an improperly
completed certificate or with no certificate, the clerk may return the ballot to the elector . . .
whenever time permits the elector to correct the defect and return the ballot within the period
authorized.”).


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ballots to the sorting center in Madison, WI, testified that USPS employees were backdating ballots

received after November 3, 2020.284 Further, Pease testified how a senior USPS employee told him

on November 4, 2020 that “[a]n order came down from the Wisconsin/Illinois Chapter of the

Postal Service that 100,000 ballots were missing” and how the USPS dispatched employees to “find[]

. . . the ballots.”285 One hundred thousand ballots supposedly “found” after election day would far

exceed former Vice President Biden margin of 20,565 votes over President Trump.

        412.     Finally, in Wisconsin, the Braynard-Zhang analysis of government data shows

election officials’ absentee ballot errors of 159,559 far exceed the margin of victory of 20,608.286

        413.      The Braynard-Zhange analysis of government data shows election officials’ absentee

ballot error rate of at least 0.89% which far exceeds federal law’s pre-election certification error rate

for voting systems’ hardware and software of 0.0008%.287


                                   Wisconsin Voter Election Contest
                                        Margin +20,608 votes

                Type of error*                     Description                   Votes
               1) Unlawful                Estimate of the minimum
                   Ballots                number of absentee ballots
                                           requested which were not              15,423
                                            requested by the person
                                             identified in the state’s
                                                   database288

              2) Legal                   Estimate of ballots that the
                Votes Not              requester returned but were not           13,826
                 Counted                          counted289
          Category 1 & 2
          Total Votes: 29,249          Error Rate (Compared to Total             0.89%
                                                   Vote)


284
    Declaration of Ethan J. Pease, Appendix pgs. 180-182 at ¶¶ 3-13.
285
    Id. ¶¶ 8-10.
286
    See Chart and WI Declaration of Matthew Braynard, Appendix pgs. 1384-1395.
287
    See Expert Report of Dennis Nathan Cain (III), Appendix 1433-1445.
288
    See WI Zhang Declaration Appendix pgs. 1375-1383 ¶ 1.
289
    See WI Zhang Declaration Appendix pgs. 1375-1383 ¶ 2.


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                 3) Illegal
                    Votes                Electors voted where they did           26,673
                   Counted                        not reside290
                                        Electors who avoided Wisconsin
                 4) Illegal                 Voter ID laws by voting
                    Votes                  absentee as an “indefinitely          96,437
                   Counted               confined” elector and were not
                                             indefinitely confined291
                 5) Illegal             Out of State Residents Voting in          6,848
                    Votes                            State292
                   Counted
                 6) Illegal                     Double Votes293                    234
                    Votes
                   Counted
                   TOTAL                                                        159,559
                                          Of total votes cast 3,289,946
        *May overlap.


          5. State of Arizona voters allege election official errors and improprieties which
             exceed the Presidential vote margin. 294

        414.      State of Michigan voters allege election official errors and improprieties which

exceed the Presidential vote margin.

        415.      Arizona has 11 electoral votes, with a statewide vote tally currently estimated at

1,661,686 for President Trump and 1,672,143 for former Vice President Biden (i.e., a margin of

10,457 votes).

        416.      Based on Arizona voters’ allegations, there was a disparate impact caused by

absentee drop boxes.

        417.      Arizona is composed of fifteen counties.


290
    See WI Declaration of Matthew Braynard, Appendix pgs. 1384-1395.
291
    See WI Declaration of Matthew Braynard Appendix pgs. 1384-1395 ¶ 5. This number is derived
from .4523 * 213,215
292
    See WI Declaration of Matthew Braynard Appendix pgs. 1384-1395 ¶ 4.
293
    See WI Declaration of Matthew Braynard Appendix pgs. 1384-1395 ¶ 6.
294
    For full extent of inappropriate activities See Timeline of Electoral Policy Activities, Issues, and
Litigation Pennsylvania, Michigan, Wisconsin, Georgia, Arizona, and Nevada August 2003 to
November 2020, Appendix 1-20.


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        418.    The state of Arizona is 113,998 square miles.

        419.    In 2016, Hillary Clinton received 1,161,167 votes from Arizona.295 Over half of these

votes came from Maricopa County with 702,907 votes in 2016.296

        420.    Based on Wisconsin voters’ allegations, this vote-rich area of only 9,224 square miles,

was given more drop boxes and early voting centers than the rest of Arizona’s 104,764 square miles

combined.

        421.    Maricopa County, only 9,224 square miles, has over 125 vote-by-mail drop boxes

available to its citizens, leaving one drop box for every 73 square miles.297 Conversely, the other

fourteen counties had a total of 119 drop boxes and early voting sites combined, meaning every

other non-Arizona county combined had one vote-by-mail drop box for every 880 square miles.298


295
     https://www.nytimes.com/elections/2016/results/arizona
296
     https://www.nytimes.com/elections/2016/results/arizona
297
     https://www.google.com/maps/d/u/0/viewer?ll=33.361088282128144%2C-
112.03699115344182&z=11&mid=1MksFw9pIMM80lE-3WVkXAr9a2BBizir7
 298
     Coconino Co., 8 drop boxes -
 https://www.coconino.az.gov/DocumentCenter/View/36811/Coconino-County-Ballot-Drop-
 Box-Locations-2020-Primary?bidId=
       Pinal Co., 7 drop boxes -
          https://www.pinalcountyaz.gov/Recorder/Pages/EarlyVoteRegister.aspx
       Gila Co., 8 drop boxes -
          https://www.gilacountyaz.gov/government/recorder/drop_off_boxes.php
       Pima Co., 14 dropbox/early voting sites - https://www.recorder.pima.gov/EarlyVotingSites
       Cochise Co., 5 drop boxes - https://www.cochise.az.gov/recorder/ballot-box-locations
       La Paz Co. 1 early voting site - https://www.parkerpioneer.net/news/article_1a2fd0ee-
          1d4c-11eb-af74-5f2cf0d805cb.html
       Maricopa Co., 125+ drop boxes -
          https://www.google.com/maps/d/u/0/viewer?ll=33.361088282128144%2C-
          112.03699115344182&z=11&mid=1MksFw9pIMM80lE-3WVkXAr9a2BBizir7
       Mohave Co., 3 early voting sites - https://mohavedailynews.com/news/11214/early-voting-
          begins-in-arizona/
       Graham Co., 5 drop boxes - https://www.graham.az.gov/314/How-To-Return-Your-Early-
          Ballot
       Navajo Co., 16 drop boxes -
          https://www.navajocountyaz.gov/Departments/Elections/Voter-Information/Early-
          Voting-Sites


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          422.   This strategy worked to benefit Democratic voters at a greater rate than republican

voters.

          423.   In the 2020 November, election Vice-President Biden increased his vote total by

almost more than 300,000 votes over Hillary Clinton’s 2016 numbers in Maricopa with 1,040,774

votes.

          424.   Alternatively, President Trump gained only about 150,000 votes.299

          425.   This type of disparate impact by government officials in Maricopa County clearly

favored Democratic voters, to the detriment of Republican voters

          426.   Additionally, in Arizona, the Braynard-Zhang analysis of the government data shows

election officials’ absentee ballot errors of 371,498 far exceed the margin of victory of 10,457.300

          427.   The Braynard-Zhang government data shows election officials’ absentee ballot error

rate of at least 10.2% which far exceeds federal law’s pre-election certification error rate for voting

systems’ hardware and software of 0.0008%.301

                                   Arizona Voter Election Contest
                                          Margin +10,457

                  Type of error*                    Description                   Margin
                 1) Unlawful                Estimate of the minimum
                     Ballots                number of absentee ballots            214,526
                                             requested which were not
                                              requested by the person
                                               identified in the state’s
                                                     database302

                  2) Legal                  Estimate of ballots that the


        Maricopa Co. - https://www.12news.com/article/news/politics/elections/map-ballot-drop-
         box-maricopa-county-for-november-2020-general-election-list/75-81c64546-9092-4f8e-
         9531-f9f10e6d1aa8
      Yavapai Co., 19 drop boxes - https://www.yavapai.us/electionsvr/early-voting
299
    https://www.politico.com/2020-election/results/arizona/
300
    See Chart and AZ Declaration of Matthew Braynard, Appendix pgs. 1419-1428
301
    See Expert Report of Dennis Nathan Cain (III), Appendix 1433-1445.
302
    See AZ Zhang Declaration Appendix pgs. 1396-1405 ¶ 1.


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                   Votes Not              requester returned but were not           131,092
                    Counted                          counted303

           Category 1 & 2                    Error Rate (Compared to                10.2%
           Total Votes: 346,618                     Total Vote)
                 3) Illegal                Electors voted where they did
                    Votes                           not reside304                   19,997
                   Counted*
                 4) Illegal               Out of State Residents Voting in           5,726
                    Votes                              State305
                   Counted*
                 5) Illegal                        Double Votes306                    157
                    Votes
                   Counted*
                   TOTAL                                                            371,498
                                            of total votes cast 3,397,388
                *May overlap

M.      The government data, state-by-state, shows election officials’ absentee ballot errors
        far exceed the margin of victory—and they far exceed the pre-election certification
        error rate of 0.0008%.

        428.    The federal government has a pre-election standard for state voting system’s

software and hardware.

        429.    As explained above, this maximum-acceptable error rate is one in 500,000 ballot

positions, or, alternatively one in 125,000 ballots—0.0008 %.307

        430.    Based on the Defendant States’ voters’ allegations, the government data shows

Wisconsin, Pennsylvania, Michigan, Georgia and Arizona election officials’ absentee ballot errors308

far exceed the Presidential margins of victory.




303
    See AZ Zhang Declaration Appendix pgs. 1396-1405 ¶ 2.
304
    See AZ Declaration of Matthew Braynard, Appendix pgs. 1419-1428 ¶3.
305
    See AZ Declaration of Matthew Braynard, Appendix pgs. 1419-1428 ¶4.
306
    See AZ Declaration of Matthew Braynard, Appendix pgs. 1419-1428 ¶5.
307
    See Expert Report of Dennis Nathan Cain (III), Appendix 1433-1445.
308
    According to Plaintiffs’ analysis, it is possible to have more than one type of error per ballot (e.g.,
double voting and voting while resident of another state).


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        431.    Based on the Defendant States’ voters’ allegations, the government data in each of

the states shows election officials’ absentee ballot errors far exceed the federal law’s pre-election

certification error rate for voting systems’ hardware and software.

                                               COUNT 1:
                                              ARTICLE II

        432.    Plaintiffs repeat and re-allege the allegations above, as if fully set forth herein.

        433.    The Plaintiffs as voters file this complaint against federal and state officials in

Arizona, Georgia, Michigan, Pennsylvania and Wisconsin seeking a declaratory judgment, and

related injunction, for a constitutionally-compliant process for state-by-state post-election

certification of Presidential votes and of Presidential electors and for counting of their votes for the

November 3, 2020 Presidential election and future elections.

        434.    Under Article II, if a state has authorized a Presidential election in that state, voters

have voting rights to state legislative post-election certifications of Presidential votes and of

Presidential electors.

        435.    Since Defendant States have authorized Presidential elections, voters in the

Defendant States, including Plaintiffs, have voting rights under Article II to state legislative post-

election certification of their Presidential votes and of Presidential electors.

        436.    Part of Plaintiffs’ voting rights in Defendant States under Article II is the right that

their Presidential votes be counted by in their respective state legislatures’ post-election certifications

of Presidential votes and Presidential electors in the 20020 and future elections.

        437.    Under Article II, Congress lacks legal authority to enact laws interfering with the

state-by-state state legislative post-election certification of Presidential electors as it has done with 3

U.S.C. §§ 5, 6 and 15.

        438.    The text and structure of the Constitution—as evidenced in Article II and the rest of

the Constitution—preempts 3 U.S.C. §§ 5, 6 and 15 as unconstitutional interference with the state


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legislative prerogative to post-election Presidential elector certification guaranteed by the

Constitution.309

           439.    Therefore, Article II renders 3 U.S.C. §§ 5, 6 and 15, in the 2020 and future

Presidential elections, as unconstitutional interference with the state legislative prerogative to post-

election Presidential elector certification guaranteed by the Constitution—and a violation of voters’

rights.310

           440.    Analogously, under Article II, the Defendant States lack legal authority to enact state

laws which are a perpetual and wholesale delegation of post-election certifications to state executive

branch officials—as they have done in Ariz. Rev. Stat.§ 16-212 (B) (Arizona Secretary of State), Ga.

Code Ann. § 21-2-499 (B) (Georgia Secretary of State and Governor), Mich. Comp. Laws Ann. §

168.46 (Michigan State Board of Canvassers and Governor), Wis. Stat. § 7.70 (5) (b) (Wisconsin

Elections Commission); and 25 Pa. Cons. Stat. § 3166 (Secretary of Commonwealth and Governor).

           441.    Article II, and its non-delegation doctrine, left it exclusively to the state legislatures

to “direct” post-election certifications of Presidential voters and of Presidential electors—not to

Defendant States to “delegate” post-election certifications, perpetually and in a wholesale fashion, to

state executive branch officials as a ministerial duty.

           442.    The text of Article II preempts Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann. § 21-2-

499 (B), Mich. Comp. Laws Ann. § 168.46, Wis. Stat. § 7.70 (5) (b), 25 Pa. Cons. Stat. § 3166 and

similar state laws which delegate Presidential post-election certifications to state executive branch

officials when it is constitutionally-required for state legislatures to conduct post-election

Presidential election certifications.




309
      Vasan Kesavan, Is the Electoral Count Act Unconstitutional, 80 N.C. L. Rev. 1653, 1759-1793 (2002).
310
      Id. at 1696-1759 (2002).


                                                       110
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        443.      The structure of the Constitution, as evidenced in Article II and the rest of the

Constitution, preempts Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann. § 21-2-499 (B), Mich. Comp.

Laws Ann. § 168.46, Wis. Stat. § 7.70 (5) (b), 25 Pa. Cons. Stat. § 3166 and similar state laws which

delegate Presidential post-election certifications to state executive branch officials when it is

constitutionally-required for state legislatures to conduct post-election Presidential election

certifications.

        444.      Therefore, the Court should hold Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann. § 21-

2-499 (B), Mich. Comp. Laws Ann. § 168.46, Wis. Stat. § 7.70 (5) (b), 25 Pa. Cons. Stat. § 3166 and

similar laws unconstitutional as they apply to Presidential state legislative post-election certifications.

        445.      The Defendant States’ lack of state legislative post-election certifications of

Presidential votes and Presidential electors in the 2020 and future Presidential elections violate the

Plaintiffs’ voting rights under Article II.

        446.      The Defendant States, in violation of Article II, have failed to provide state

legislative post-election certifications of Presidential votes and of the Presidential Electors; so,

voters’ votes in the Defendant States do not count in the current and future elections—a

disenfranchisement.

        447.      A declaratory judgment should issue, applicable to the current and future elections,

declaring that Article II requires state legislative post-election certifications of Presidential votes and

of Presidential electors for Presidential elector votes to count in the U.S. Congress for the election

of the President and Vice President.

        448.      Further, any count of Presidential electors in the November 3, 2020 or future

elections should be declared invalid if based on votes of Presidential electors who have not received

state legislative post-election certification.




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         449.   The Vice President and U.S. Congress should be enjoined from counting Presidential

elector votes from any states in the current and future elections unless their respective state

legislatures have voted affirmatively in a post-election vote to certify Presidential votes and their

Presidential electors for the current and future Presidential elections.

                                            `
                                         COUNT 2:
                                 EQUAL PROTECTION CLAUSE

         450.   Plaintiffs repeat and re-allege the allegations above, as if fully set forth herein.

         451.   Plaintiffs are entitled to state legislative post-election certification of their

Presidential votes and of Presidential electors so their votes count equally with other states’ citizens’

votes.

         452.   The Equal Protection Clause prohibits the use of differential standards in the

treatment and tabulation of ballots within a State. Bush, 531 U.S. at 107.

         453.   The one-person, one-vote principle requires counting valid votes and not counting

invalid votes. Reynolds, 377 U.S. at 554-55; Bush, 531 U.S. at 103 (“the votes eligible for inclusion in

the certification are the votes meeting the properly established legal requirements”).

         454.   The Defendant States, in violation of the Equal Protection Clause, have failed to

provide state legislative post-election certifications of Presidential votes and of the Presidential

Electors as they do in other states; so, voters’ votes in the Defendant States will not count—a

disenfranchisement of that state’s voters.

         455.   Absent the state legislative post-election certification of Presidential electors and of

the Presidential Electors in the Defendant States, the Defendant States violate the one-person, one-

vote principle because their Presidential votes and their state’s Presidential electors’ votes will not

count toward the election of President and Vice President.




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        456.     Plaintiffs are therefore harmed by Defendants’ unconstitutional conduct in violation

of the Equal Protection Clause.

        457.     A declaratory judgment should issue, applicable to the current and future elections,

declaring that the Equal Protection Clause requires state legislative post-election certification of

Presidential votes and of Presidential electors for Presidential elector votes to count in the U.S.

Congress for the election of the President and Vice President.

        458.     Further, any count of Presidential electors in the November 3, 2020 or future

elections should be declared invalid if based on votes of Presidential electors who have not received

state legislative post-election certification.

        459.     The Vice President and U.S. Congress should be enjoined from counting Presidential

elector votes from states in the current election and future elections unless the respective state

legislatures has voted affirmatively in a post-election vote to certify Presidential votes and their

Presidential electors.

                                            COUNT 3:
                                       DUE PROCESS CLAUSE

        460.     Plaintiff repeats and re-alleges the allegations above, as if fully set forth herein.

        461.     Plaintiffs as voters are entitled to state legislative post-election certifications of

Presidential votes and of Presidential electors so their votes are subjected to the same due process as

other citizens’ votes.

        462.     When election practices reach “the point of patent and fundamental unfairness,” the

integrity of the election itself violates substantive due process. Griffin v. Burns, 570 F.2d 1065, 1077

(1st Cir. 1978); Duncan v. Poythress, 657 F.2d 691, 702 (5th Cir. 1981); Florida State Conference of

N.A.A.C.P. v. Browning, 522 F.3d 1153, 1183-84 (11th Cir. 2008); Roe v. State of Ala. By & Through

Evans, 43 F.3d 574, 580-82 (11th Cir. 1995); Roe v. State of Ala., 68 F.3d 404, 407 (11th Cir. 1995);

Marks v. Stinson, 19 F. 3d 873, 878 (3rd Cir. 1994).


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        463.    Under this Court’s precedents on procedural due process, not only intentional failure

to follow election law as enacted by a State’s legislature but also random and unauthorized acts by

state election officials and their designees in local government can violate the Due Process Clause.

Parratt v. Taylor, 451 U.S. 527, 537-41 (1981), overruled in part on other grounds by Daniels v.

Williams, 474 U.S. 327, 330-31 (1986); Hudson v. Palmer, 468 U.S. 517, 532 (1984).

        464.    The difference between intentional acts and random and unauthorized acts is the

degree of pre-deprivation review.

        465.    Defendants acted unconstitutionally by certifying Presidential electors and counting

their votes without prior state legislative post-election certifications of Presidential votes and of

Presidential electors.

        466.    Defendant States acted unconstitutionally by their state legislatures not voting for

post-election certifications of Presidential votes and Presidential electors.

        467.    Federal Defendants acted unconstitutionally under federal laws requiring counting

votes of Presidential electors who have not received state legislative post-election certification.

        468.    The actions set out in the paragraphs above constitute intentional violations of the

law by Defendants in violation of the Due Process Clause.

        469.    The Defendants, in violation of the Due Process Clause, prohibit state legislative

post-election certifications of Presidential votes and of the Presidential Electors.

        470.    Plaintiffs’ voting rights are disenfranchised by Defendants’ unconstitutional conduct

in violation of the Due Process Clause.

        471.    A declaratory judgment should issue, applicable to current and future elections,

declaring that the Due Process Clause requires state legislative post-election certification of

Presidential votes and of Presidential electors for Presidential elector votes to count in the U.S.

Congress for the election of the President and Vice President.



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        472.    Further, any count of Presidential electors in the current and future elections should

be declared invalid if based on votes of Presidential electors who have not received state legislative

post-election certification.

        473.    The Vice President and U.S. Congress should be enjoined from counting Presidential

elector votes, in the current and future elections, unless their respective state legislature has voted

affirmatively in a post-election vote to certify Presidential votes and their Presidential electors.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court issue the following relief for

the 2020 and future Presidential elections:

    A. Issue a declaratory judgment, applying to the current and future elections, declaring that 3
       U.S.C. §§ 5, 6 and 15 were and are unconstitutional deprivations of the state legislatures’
       constitutional prerogative to post-election certification of the Presidential electors;

    B. Issue a declaratory judgment, applying to current and future elections, declaring that Ariz.
        Rev. Stat. § 16-212 (B), Ga. Code Ann. § 21-2-499 (B), Mich. Comp. Laws Ann. § 168.46,
        Wis. Stat. § 7.70 (5) (b), 25 Pa. Cons. Stat. § 3166 and similar state laws are unconstitutional
        delegations by the respective states of post-election Presidential election certification duties
        to their respective executive branch officers when Article II requires such certifications to be
        made by the respective state legislatures;

    C. Issue a declaratory judgment, applying to current and future elections, that the Plaintiff-
       voters’ constitutionally-protected voting rights in Presidential elections are being violated by
       Defendants;

    D. Issue a declaratory judgment, applying to current and future elections, that the Plaintiffs’
       voting rights were violated under Article II, the Equal Protection Clause and the Due
       Process Clause;

    E. Enjoin the Vice President and U.S. Congress, in the current and future elections, from
       counting Presidential elector votes from states unless their respective state legislatures vote
       affirmatively in a post-election vote to certify their Presidential electors;

    F. Alternatively, enjoin, in the current and future elections, the State Defendants’ state
       legislatures to meet in their respective States to consider post-election certification of their
       respective Presidential electors;

    G. Award attorney’s fees and costs under 42 U.S.C. § 1988 to Plaintiffs against State
       Defendants; and



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  H. Grant such other relief as the Court deems just and proper.


                                                   /s/Erick G. Kaardal
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